                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

ROBERT FRANKLIN
       Plaintiff,
v.                                               Civil Action No.
                                                  COMPLAINT
UNITED STATES OF AMERICA;
DEPARTMENT OF HOMELAND
SECURITY;
                                                JURY DEMANDED
ALEJANDRO MAYORKAS, Secretary of
Department of Homeland Security, in his
official capacity;
TERRY MUISE, Special Agent of
Department of Homeland Security, in his
individual capacity;
MARK SHOFFNER, Task Force
Officer of Department of Homeland
Security, in his individual capacity;
TRANSPORTATION SECURITY
ADMINISTRATION;
DAVID P. PEKOSKE, Administrator of
Transportation Security Administration
of Department of Homeland Security, in
his official capacity;
DRUG ENFORCEMENT
ADMINISTRATION;
ANNE MILGRAM, Administrator of
Drug Enforcement Administration, in
her official capacity; and
HOUSTON POLICE DEPARTMENT;
       Defendants.



     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND FOR
     INDIVIDUAL RELIEF OF RETURN OF PROPERTYAND COMPENSATORY
                     DAMAGES AND ATTORNEY FEES
                                                        TABLE OF CONTENTS

Introduction ....................................................................................................................................... 1

Jurisdiction ........................................................................................................................................ 2

Venue ................................................................................................................................................ 2

Parties................................................................................................................................................ 3

     A. Plaintiff Robert Franklin ....................................................................................................... 3

     B. Defendant United States of America .................................................................................... 3

     C. Defendant Department of Homeland Security (DHS) ........................................................... 3

     D. Defendant Alejandro Mayorkas ............................................................................................ 4

     E. Defendant Terry Muise ......................................................................................................... 4

     F. Defendant Mark Shoffner ..................................................................................................... 5

     G. Defendant Transportation Security Administration (TSA) ................................................... 5

     H. Defendant David P. Pekoske ................................................................................................. 7

     I. Defendant Drug Enforcement Administration (DEA) .......................................................... 7

     J. Defendant Anne Milgram ..................................................................................................... 8

     K. Defendant Houston Police Department (HPD) ..................................................................... 8

Facts .................................................................................................................................................. 8

     A. Franklin earned the money from sales of real estate........................................................... 12

     B. TSA unlawfully seized, at the security check point, Franklin and his carry-on luggage
        which contained Franklin’s cash, and involved DHS who seized Franklin and his luggage
        and cash at the boarding gate. ............................................................................................. 12

     C. DHS seized Franklin, his carry-on luggage, his backpack, and his cash, and then DHS kept
        his cash for civil forfeiture .................................................................................................. 13

     D. DHS still has Franklin’s life savings. ................................................................................. 15

     E. Injuries to Franklin .............................................................................................................. 16

     F. Continuing and ongoing harm to Franklin from TSA’s and DHS’ airport personal seizure
        and cash seizure policies or practices ................................................................................. 17

TSA Allegations.............................................................................................................................. 18
                                                                           ii
     A. Nationwide examples of TSA Screeners following the challenged TSA personal seizure
        and cash seizure policy or practice ..................................................................................... 25

DHS/DEA Allegations .................................................................................................................... 35

     A. DHS and DEA’s unconstitutional policy or practice of conducting suspicionless non-
        consensual seizures of air travelers based solely on the knowledge or belief that they are
        traveling with a “large” amount of cash ............................................................................. 37

     B. DHS/DEA’s unconstitutional policy or practice of seizing for civil forfeiture “large”
        amounts of cash from air travelers because DHS/DEA deem “large” amounts of cash
        presumptively subject to seizure ......................................................................................... 41

     C. Nationwide examples of DEA agents following the challenged DHS and DEA airport
        personal seizure and cash seizure policies or practices ...................................................... 43

Claims ............................................................................................................................................. 51

     1. Claim for Ultra Vires Agency Action Under 5 U.S.C. §§ 701-706 (Against TSA, TSA
        Administrator Pekoske in his official capacity, and the United States of America) ........... 51

     2. Claim for Unconstitutional Action Under 5 U.S.C. §§ 701-706 and the Fourth Amendment
        (Against TSA, TSA Administrator Pekoske in his official capacity, and the United States
        of America) ......................................................................................................................... 53

     3. Claim for Unconstitutional Action Under 5 U.S.C. §§ 701-706 and the Fourth Amendment
        (Against DHS, DHS Secretary Mayorkas in his official capacity, and the United States of
        America) ............................................................................................................................. 55

     4. Claim Under Federal Rule of Criminal Procedure 41(g) and 28 U.S.C. § 1331 for Return of
        Plaintiff’s Cash and Interest on Plaintiff’s Property Seized and Held for Years in Violation
        of the Fourth Amendment (Against DHS, DHS Secretary Mayorkas, in his official
        capacity,and the United States of America) ........................................................................ 57

     5. Bivens Claim for Compensatory DamagesUnder the Fourth Amendment (Against DHS
        Agent Terry Muise, DHS/HPD Officer Shoffner, and Houston Police Department) ......... 58

Request for Relief ........................................................................................................................... 59

Jury Demand ................................................................................................................................... 62




                                                                         iii
                                              Introduction

    1.    Pending before Judge Lynn N. Hughes is Cause # 4:20-CV-01084, United States v.

$98,020.00. Due to the legal fiction that the “In Rem” proceeding is against the cash, the cash is

the “defendant.” That legal fiction seems to require this case to be filed as an “original” action by

the true party in interest who is the “claimant” in U.S. v. $98,020.00. This case should be filed and

treated as a traditional crossclaim and counterclaim against the governmental actors, entities,

policies, and procedures that have caused the illegal and unconstitutional violations complained of

as set out herein.

    2.    This civil rights lawsuit asks whether federal agencies may seize air travelers, their

belongings, and/or their cash at U.S. airports without any indication of criminal activity, but simply

because they are traveling with a “large” amount of cash. Plaintiff seeks to enjoin these unlawful

and unconstitutional policies or practices of the Transportation Security Administration (“TSA”)

and the Department of Homeland Security (“DHS”) and DEA, which violate the Fourth

Amendment rights of thousands of air travelers each year.

    3.    Plaintiff Robert Franklin seeks declaratory and injunctive relief from being subjected to

TSA’s and DHS’s unlawful and unconstitutional personal seizure and cash seizure policies or

practices at airports across the country.

    4.    Plaintiff Robert Franklin also seeks (1) from DHS, the return of his seized cash, interest

that accrued on his unconstitutionally seized cash that DHS withheld from him for at least twenty-

four months and (2) compensatory damages caused by the unconstitutional cash seizure and the,

at least, twenty-four months of unconstitutional deprivation of his money, and attorney fees.

    5.    TSA has a policy or practice of seizing travelers, their property, and/or their cash at

airports without reasonable suspicion or probable cause, based solely on the amount of cash they

are traveling with or the amount of cash TSA believes they are traveling with. TSA’s policy or


                                                 1
practice exceeds the agency’s statutory authority—which is limited to transportation security and

does not extend to investigating potential crimes unrelated to transportation security—and violates

the Fourth Amendment.

   6.    DHS has policies or practices of (1) seizing travelers, their property, and/or their cash at

airports without reasonable suspicion or probable cause, based solely on the presence or amount

of cash DHS agents know or believe they are traveling with, and (2) seizing cash from travelers at

airports for civil forfeiture without probable cause, based solely on the amount of cash DHS agents

know or believe they are traveling with, which DHS deems presumptively subject to seizure at a

certain threshold. DHS’s policies or practices violate the Fourth Amendment.

                                           Jurisdiction

   7.    This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1367 and 5 U.S.C. § 701-706.

   8.    Plaintiff Franklin brings his statutory and Fourth Amendment claims under the

Administrative Procedure Act, 5 U.S.C. § 701-706; the Declaratory Judgment Act, 28 U.S.C.

§2201-2202; and the United States Constitution.

   9.    Plaintiff Franklin brings his individual claim for the return of seized property and

compensatory damages under Federal Rule of Criminal Procedure 41(g) and this Court’s general

equity jurisdiction and under 28 U.S.C. § 1331.

   10. Plaintiff Franklin brings his individual Fourth Amendment claim for compensatory

damages under Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971).

                                              Venue

   11. Venue is proper in the United States District Court for the Southern District of Texas

Houston Division under 28 U.S.C. § 1391(b)(2) and 1391(e)(1)(A) and Federal Rule of Criminal

Procedure 41(g) because Defendants’ unlawful and unconstitutional conduct occurred in the

Southern District of Texas
                                                2
                                              Parties

  A. Plaintiff Robert Franklin

   12. Plaintiff Robert Franklin is an adult citizen of the United States and is a resident of

Groesbeck, Texas.

   13. Franklin has sole ownership of the $98,020 that DHS seized from Franklin at IAH while

travelling to Medford, Oregon on November 13, 2019.

   14. Franklin brings three claims for declaratory and injunctive relief against the unlawful and

unconstitutional seizures of cash, carry-on luggage, personal effects, and his person by TSA and/or

DHS and DEA.

  B. Defendant United States of America

   15.   Defendant United States of America is the national federal government established by

the United States Constitution. As such, it is subject to limitations imposed by the Constitution—

including, as relevant here, the Fourth Amendment.

   16.   The constitutional violations at issue here involve the actions of federal agencies and

employees and are therefore ultimately chargeable to the federal government itself.

  C. Defendant Department of Homeland Security (DHS)

   17.   DHS is a federal agency whose primary mission includes monitoring and attempting to

interdict connections between illegal drug trafficking and terrorism. 6 U.S.C. §111.

   18.   In addition to DHS agents who are exclusively federal employees, DHS includes DHS

Task Force Officers, who are federal, state and local law enforcement officers cross sworn as Title 6

DHS agents.

   19.   A substantial portion of DHS’ activities involve the seizure of cash that DHS agents,

including DHS Task Force Officers, justify by unsubstantiated references to controlled substances,

including at airports across the country.

                                                3
    20.   DHS follows a policy or practice of seizing air travelers and their possessions at U.S.

 airports without reasonable suspicion, based solely on the presence or amount of cash DHS agents

 know or believe they are traveling with.

    21.   DHS follows a policy or practice of seizing cash without probable cause from travelers

 at U.S. airports for civil forfeiture, based solely on the presence or amount of cash DHS agents

 know or believe they are traveling with, which DHS deems presumptively subject to seizure.

    22.   DHS follows a policy or practice of seizing cash without probable cause from travelers

 at U.S. airports for civil forfeiture, based solely on the fact that DHS agents know or believe they

 are traveling with $5,000 or more, which DHS deems presumptively subject to seizure.

    23.   DHS engaged in these policies or practices in Plaintiff’s case.

   D. Defendant Alejandro Mayorkas

    24. Defendant Mayorkas is the current Secretary of DHS.

    25. As Secretary of DHS, Mayorkas is responsible for overseeing the operations of DHS,

 including the policy or practice at issue here.

    26. Mayorkas is sued in his official capacity.

   E. Defendant Terry Muise

    27. Defendant Muise is a Special Agent of the Homeland Security Investigations division of

          DHS.

    28.   Muise is the agent who seized Franklin and his possessions without reasonable suspicion

and then seized Franklin’s cash for civil forfeiture without probable cause on November 13, 2019.

    29.   Defendant Muise’s actions in seizing Franklin and his property without reasonable

 suspicion and in seizing Franklin’s cash for civil forfeiture without probable cause were in

 accordance the DHS interdiction policies or practices that Franklin seeks to declare unlawful and

 enjoin in this lawsuit. The constitutional violations at issue are standard DHS practice(as illustrated


                                                   4
 herein), but upon information and belief, no written DHS policy required Defendant Muise to

 commit these constitutional violations.

     30.   Defendant Muise is sued in his individual capacity pursuant to Bivens v. Six Unknown

 Named Agents, 403 U.S. 388 (1971).

   F. Defendant Mark Shoffner

    31.    Defendant Mark Shoffner is a Task Force Officer for the Homeland Security

Investigations division of DHS and Police Officer of the Houston Police Department.

    32.    Shoffner is the agent who seized and interrogated Franklin with Defendant Muise.

    33.    Shoffner is sued in his individual capacity.

   G. Defendant Transportation Security Administration (TSA)

     34. TSA is a federal agency charged with protecting the nation’s transportation systems,

 particularly air travel. 49 U.S.C. § 114(d)-(e).

     35. TSA is not a general law enforcement agency. Most of its employees are not law

 enforcement officers and do not have general law enforcement authority or duties.

     36. Pursuant to its statutory mandate, TSA conducts transportation security screenings of

 passengers and their luggage at U.S. airports. See 49 U.S.C. §§ 114(e), 44901.

     37. TSA must promulgate regulations requiring air carriers to refuse to transport a passenger

 or their luggage if the passenger “does not consent to a search under section 44901(a) of this title

 establishing whether the passenger is carrying unlawfully a dangerous weapon, explosive, or other

 destructive substance” or if the passenger “does not consent to a search of the property establishing

 whether the property unlawfully contains a dangerous weapon, explosive, or other destructive

 substance.” 49 U.S.C. § 44902(a)(1)-(2).

     38. TSA conducts the transportation security screenings described in 49 U.S.C. § 44902(a).

     39. Pursuant to its statutory mandates, TSA’s authority to conduct transportation security

                                                    5
screenings is limited to “the inspection of individuals and property for weapons, explosives, and

incendiaries.” 49 C.F.R. § 1540.5.

   40. TSA employees who conduct these transportation security screenings at airports (“TSA

Screeners”) include Transportation Security Officers and Supervisory Transportation Security

Officers.

   41. TSA Screeners are not law enforcement officers, do not have general law enforcement

authority or duties, and are not permitted to engage in general law enforcement investigations.

   42. Transportation security screenings at airport checkpoints by TSA Screeners are

administrative searches conducted for the limited purpose of ensuring transportation security. They

are not, by law, searches conducted for general law enforcement purposes.

   43. In contravention of this limited authority and duties, TSA Screeners follow a TSA policy

or practice of seizing, or arranging with DHS the seizure of, travelers’ cash, carry-on luggage,

personal effects, and/or persons after TSA screeners have concluded the transportation security

screening and determined that no items that pose a threat to transportation security are present.

   44. TSA Screeners base these seizures on whether the traveler appears to be traveling with a

“large” amount of cash.

   45. What TSA Screeners consider to be a “large” amount of cash may vary, but is usually

approximately $10,000 or more, or what appears to TSA Screeners to be approximately $10,000

or more, based on visual inspection or the X-Ray image of carry-on luggage.

   46. TSA Screeners make, or arrange with DHS, these post-screening seizures without regard

for whether reasonable suspicion or probable cause exists for the seizures.

   47. TSA Screeners make, or arrange with DHS, these post-screening seizures to gather

information regarding travelers with cash and their cash amounts that TSA Screeners pass on to law

enforcement officers,including DHS agents.


                                                6
     48. TSA Screeners also make, or arrange with DHS, these post-screening seizures in order to

 hold the traveler’s cash, carry-on luggage, personal effects, and/or person until law enforcement

 officers, including DHS agents, can arrive at the transportation security screening area or boarding

 gate and continue to seize and interrogate travelers based solely on the presence or amount of cash

 that TSA Screeners inform them the person is traveling with.

     49. TSA has been engaging in this policy or practice for the entirety of the period described

 in Plaintiff’s action.

     50. Pursuant to this policy or practice, TSA arranged the seizure of Franklin’s cash,

 Franklin’s carry-on luggage and its contents, Franklin’s ID and boarding passes, and Franklin

 himself on November 13, 2019.

   H. Defendant David P. Pekoske

     51. Defendant Pekoske is the current Administrator of TSA.

     52. As Administrator of TSA, Pekoske is responsible for overseeing the operations of TSA,

 including the policy or practice at issue here.

     53. Pekoske is sued in his official capacity

   I. Defendant Drug Enforcement Administration (DEA)

    54.         DEA is a federal agency charged with enforcing the controlled substances laws and

regulations in the United States. 21 U.S.C. § 878.

    55.         A substantial portion of DEA’s activities involve the seizure of currency that it

believes is connected to controlled substances, including at airports across the country. DEA

routinely participates in interdiction task forces at airports in concert with DHS and TSA.

    56.         Upon information and belief, DEA follows a policy or practice of seizing currency

from travelers at U.S. airports without probable cause, based solely on the presence of currency of

$5,000 or more on their person or in their carry-on luggage.


                                                   7
    57.        Upon information and belief, after seizing currency from air travelers in this manner,

DEA typically attempts to initiate the civil forfeiture of the property under the Civil Asset Forfeiture

Reform Act (CAFRA). Money, so forfeited, is shared between participating government entities like

TSA employees, D.H.S. and state on local law enforcement.

   J. Defendant Anne Milgram

     58. Defendant Milgram is the current Administrator of the DEA.

     59. As Administrator of DEA, Milgram is responsible for overseeing the operations of DEA,

 including the policy or practice at issue here.

     60. Milgram is sued in her official capacity

   K. Defendant Houston Police Department (HPD)

    61.        Defendant Houston Police Department furnishes their officers, such as defendant Mark

Shoffner, to participate in the DHS Task Force in exchange for a share of the ill-gotten seized,

forfeited money.

    62.        All of claims and relief requested against DHS also applies to the DEA, HPD and

TSA.

                                                   Facts
                                                   ----
    63. Franklin is a resident of Groesbeck, Texas.

    64. Franklin and his mother, Doris, lived together at 144 LCR 423, Groesbeck, Texas from

early 2016 until her death on September 19, 2019.

    65. Franklin dedicated his time to providing full-time, in home care for Doris.

    66. Franklin picked up odd jobs for extra money and had been saving money he made doing

so since about 2004. In 2016 and 2018 Franklin sold real property for approximately $97,661.23

and $44,159.87.

    67. When his mother passed away in 2019, Franklin planned to start a new life and move to


                                                   8
Oregon.

    68. Franklin purchased a flight from Houston, Texas to Medford, Oregon with the intention

of purchasing property that would be suitable for his new life and future business ventures.

    69. Knowing he intended to buy property and that he would be carrying a substantial amount

of cash, Franklin decided to fly instead of drive to ensure a more secure trip.

    70. Franklin had obtained money years before, including, through the sale of property in

2018 in Thornton, Texas, and in 2016 in Burnet, Texas.

    71. On November 13, 2019, before even boarding his plane at George Bush Intercontinental

Airport (IAH), his trip was cut short by the Transportation Security Administration (“TSA”) and

Department of Homeland Security (“DHS”). While his carry-on bag went through the x-ray

machines required by airport security, TSA agents noticed cash in the carry-on. They pulled his

carry-on and backpack to the side and asked Franklin if they could look through them. Franklin said

yes and they opened them and saw the cash. Then they asked if they could go in another room for

privacy and Franklin said yes. Franklin acknowledged and explained the money, and TSA let him

proceed to his gate. The TSA Screener had inspected Franklin’s carry-on luggage and found no

weapons, explosives, incendiaries, or other prohibited items, and the TSA Screener’s questions

about the amount of, and purpose for, the cash were not relevant to any transportation security

concern.

    72. TSA notified DHS Task Force Officer Terry Muise (“Muise”) that Franklin was travelling

with a large amount of currency from Houston, Texas to Los Angeles, California. Based on that,

Muise and DHS Task Force Officer Mark Shoffner (“Shoffner”) approached Franklin at his

departure gate. Muise asked if he could talk to Franklin who said yes. Then Muise asked to search

Franklin’s suitcase, and Franklin asked why. Muise said that he found it unusual for someone to

travel with such a large quantity of money. Franklin explained that he was planning on purchasing


                                                 9
a property in Oregon. Muise asked if he could prove where he got the money. Franklin explained

that the money came from the sale of property and showed Musie paperwork from one of the

purchases. Muise asked if Franklin would be willing to open his carry-on said. Franklin asked if he

was under arrest or being detained, and Muise said no. Franklin did not feel free to leave. Believing

that this was a secondary TSA type search, and knowing it was not against the law to travel with

money, Franklin did so and revealed some of the clothes and money that he was travelling with.

Muise alleges that he smelled an “unusual aroma emanating from the bag,” which he says he

associated with narcotics couriers based on his training and experience. Franklin denies any aroma

from his bag.

    73. Muise then asked Houston Police Department Canine Officer Steven Fisher (“Fisher”) to

come to the gate with his K9 Partner “Lola.” Franklin reasonably believed he was being detained.

Even if DHS agents had told him he was free to leave, he could not realistically have left his carry-

on luggage with all his cash and clothing before going to a new state. DHS seized Franklin along

with his carry-on luggage and cash. The DHS’s seizure of Franklin and his belongings exceeded

TSA and DHS’s authority and was unconstitutional. Franklin did not feel free to walk away from

the DHS agent or to decline to answer the DHS agent’s questions about his cash. Rather than permit

Franklin to continue to board at his gate, the DHS agents unlawfully prolonged his detention beyond

the administrative search of Franklin and his carry-on luggage by detaining Franklin and his

belongings and questioning him about why he was traveling with cash, a topic that was not relevant

to any transportation security concerns. Shoffner asked Franklin if Franklin could show any

evidence of property he intended to buy in Oregon, but Franklin said he could not because he was

going to search when he arrived in Oregon, where he would stay with a friend in the meantime.

    74. When Fisher arrived with Lola, Fisher had Lola walk and sniff around and near Franklin’s

belongings. Lola wandered around for a little while before allegedly “alerting” to a scent of illegal


                                                 10
narcotics on Franklin’s carry-on by sitting down near it. Franklin denies any noticeable “alert” by

the dog. Muise then seized Franklin’s suitcase and backpack with Franklin’s clothing and money

and told Franklin that Franklin could leave if he wanted to but would have to go with the officers to

their airport office if he wanted a receipt for his property. Franklin said he would not leave without

his belongings. Muise advised the boarding agent to cancel Franklin’s boarding pass because, “he

is not going anywhere”.

    75. Muise gave Franklin a form or receipt that said “cash” and did not specify the amount of

currency. Muise then told Franklin that he was going to apply for a search warrant to search

Franklin’s suitcase. Franklin did not want to leave without them counting it and providing a receipt

with the specific amount of money. In order to get an accurate receipt and not have to wait around

the whole day for a warrant, Franklin “consented” to a search of his suitcase and backpack.

    76. No illegal contraband was found on Franklin’s person or his belongings. Not only was the

money earned legitimately by Franklin, but Franklin has no criminal history that would lead the

agents to believe that the money was derived from the dealing of illegal substances or intended for

same. DHS seized $48,020 in U.S. currency from Franklin’s suitcase and $50,000 in U.S. currency

from Franklin’s backpack. A total of $98,020.00.

    77. DHS seized for civil forfeiture Franklin’s life savings without probable cause.

    78. Franklin has not been arrested for or charged with any crime. Nor was he accused of any

crime. Once the DHS agents seized his cash for civil forfeiture, the DHS agents told Franklin he

was free to leave.

    79. DHS’s initial seizure and continued retention of Franklin’s life savings for at least twenty-

four months (to date) prevented him from paying for his property and paying for other expenses

for those years.

    80. After these events, as a result of his knowledge of TSA’s and DHS’s airport personal


                                                 11
seizure and cash seizure policies or practices, Franklin has refrained and will refrain from the

entirely lawful conduct of flying commercially with “large” amounts of cash. Franklin has

significantly changed his business behavior when buying or purchasing property or just traveling.

    81. Now, years after the seizure, DHS has not returned any of the $98,020 that they seized

from Franklin on November 13, 2019

    82. Plaintiff Robert Franklin brings this action to recover his property and end these unlawful

and unconstitutional airport personal seizure and cash seizure policies or practices.

    A. Franklin earned the money from sales of real estate

    83. Franklin sold 40 acres in Burnet County to Allan Snider on June 6, 2016.

    84. Franklin sold 7.5 acres in Limestone County to Lewis Z. Rodriguez and Irma Torres

Rodriguez on May 21, 2018.

   B. TSA unlawfully seized, at the security check point, Franklin and his carry-on luggage
      which contained Franklin’s cash, and involved DHS who seized Franklin and his
      luggage and cash at the boarding gate.

    85. While going through the transportation security screening checkpoint, Franklin behaved

normally, in a similar manner to other air travelers going through the security screening, and did

nothing unusual, suspicious, indicative of criminal activity, or indicative of any threat to

transportation security.

    86. A TSA Screener saw the cash in the X-Ray image of Franklin’s carry-on luggage.

    87. After the TSA Screeners pulled aside Franklin’s carry-on luggage, a TSA Screener

questioned Franklin about the amount and purpose of the cash inside. TSA had already completed

the transportation security screening when the TSA Screener began interrogating Franklin about his

cash. The TSA Screener’s questions about the amount and purpose of the cash were not relevant to

any transportation security concern.

    88. As determined by TSA’s transportation security screening, Franklin had no items that


                                                 12
could threaten transportation security—weapons, explosives, incendiaries, or other prohibited

items—in his luggage or on his person. The mere presence of the cash in Franklin’s carry-on

luggage was the only reason that the TSA Screeners interrogated him. Franklin explained his

innocent reasons for having cash.

    89. Showing that TSA still had no safety concerns, TSA allowed Franklin through the

checkpoint and on to his departure gate.

    90. Based solely on the presence of the cash in Franklin’s carry-on luggage, TSA Screeners

notified DHS.

    91. Despite these delays, Franklin made it to the boarding gate for his departing flight with

time to spare and sat in a nearby seat. He continued to behave normally, in a similar manner to other

air travelers, and did nothing unusual, suspicious, indicative of criminal activity, or indicative of

any threat to transportation security.

   C. DHS seized Franklin, his carry-on luggage, his backpack, and his cash, and then DHS
      kept his cash for civil forfeiture

    92. But Franklin was soon approached at the gate by two strangers.

    93. One of them identified himself as a Houston Police Officer. He was Defendant Mark

Shoffner.

    94. The other stranger was Defendant Terry Muise.

    95. The sole reason that Defendant Muise approached Franklin and told Franklin he had some

questions for him at the airport was because Muise knew Franklin was traveling with a “large”

amount of cash. That alone is not reasonable suspicion for a seizure. Nor did any combination of

information that Defendant Muise might have known at the time give rise to reasonable suspicion.

Franklin was behaving normally and was simply working on his laptop and eating breakfast in a

seat near his boarding gate, in a similar manner to other air travelers. He did nothing unusual,

suspicious, indicative of criminal activity, or indicative of any threat to transportation security.

                                                  13
     96. Despite the lack of any facts giving rise to reasonable suspicion, Franklin’s encounter with

Defendant Muise and the HPD officer at his gate was not a consensual interview. Defendant Muise

approached Franklin in the high security setting of an airport, told Franklin that he was a federal

law enforcement officer, and told him that he wanted to speak with him about the cash in his

possession. Franklin did not feel free to walk away or to decline to answer in the face of these

targeted questions by a federal law enforcement officer at the airport, particularly given the

similarity of these questions to those asked of him at the transportation security screening

checkpoint by TSA Screeners.

     97. Continuing the suspicionless non-consensual seizure, Defendant Muise and Shoffner

escorted him to a less crowded part of the gate area to question him. Franklin still felt like he had

no choice but to comply with Defendant Muise’s demands and to answer his questions.

     98. From the start of the encounter, Franklin did not feel free to walk away from Defendant

Muise or to decline to answer his questions. He also needed to remain near the gate in order to board

his flight.

     99. Defendant Muise told Franklin to show him the cash that he knew he had in his carry-on

luggage. Franklin felt like he had no choice but to comply with the targeted demands and showed

Muise the cash.

     100. Defendant Muise’s knowledge that Franklin was traveling with a “large” amount of cash

was the sole basis for Defendant Muise’s suspicionless non-consensual seizure of Franklin—

including escorting him to a different area, questioning him about the cash, and demanding to see

the cash. This was in accordance with DHS’ policy or practice of seizing travelers at airports without

reasonable suspicion, based solely on the presence or amount of cash DHS agents know or believe

they are traveling with.

     101. Upon information and belief, Defendant Muise intended to seize Franklin’s cash as soon


                                                 14
as he learned of the amount. This was in accordance with DHS’s policy or practice of

    102. Presumptively seizing cash totaling $5,000 or more from travelers at U.S. airports for civil

forfeiture regardless of whether there is probable cause for the seizure.

    103. Defendant Muise interrogated Franklin, asking why he was traveling with the cash. After

explaining, Defendant Muise asked to look inside Franklin’s bag. Franklin attempted to assert his

rights by asking why and asking if travelling with cash was against the law. Muise said it was not

against the law but that he found it suspicious and explained what he believed to be his duties.

Franklin acquiesced and allowed Muise to look inside his luggage, where Muise saw Franklin’s

clothing and cash.

    104. Defendant Muise saw no contraband or suggestion of criminality. Despite this, Defendant

Muise called for a K9 to conduct a sniff around Franklin.

    105. When the K9 arrived, the K9 allegedly alerted that the scent of illegal drugs was at the

area where Franklin’s luggage was. No drugs were found. No “alert” was evident to Franklin.

    106. Muise then told Franklin that his belongings would be detained while he applied for a

search warrant to search his luggage and backpack. Muise suggested Franklin should sign a

“consent” to search to speed up the resolution of the matter. Franklin signed.

    107. Defendant Muise seized all of Franklin’s cash, totaling $98,020.00 in cash.

    108. Franklin’s cash was seized for civil forfeiture without probable cause.

    109. At the time of Franklin’s non-consensual seizures by TSA, DHS, and HPD, the non-

consensual seizure of his possessions and seizure of his cash for civil forfeiture by DHS, Franklin

was not under investigation for any criminal activity. Franklin was seized by TSA, HPD, and DHS

based solely on the presence or amount of cash he was known or believed to be traveling with.

   D. DHS still has Franklin’s life savings.

    110. Franklin was not arrested or charged with any crime. He was free to walk away from


                                                 15
Defendant Muise as soon as (but not before) Muise took Franklin’s life savings. He was not

permitted to board his flight to Oregon. He was deeply embarrassed by his fellow passengers and

other onlookers staring at him during this entire non-consensual encounter because it appeared he

had done something wrong or illegal.

    111. Franklin was not allowed to board his flight

    112. Franklin has not been arrested for or charged with any crime related to or arising from any

circumstances surrounding the seizure of his cash.

    113. Franklin received a notice from DHS for the seized $98,020 indicating DHS’ intention to

permanently keep his cash through civil forfeiture.

    114. Franklin timely filed claims with DHS, demanding that the government initiate judicial

forfeiture proceedings in federal court but has not received his seized property.

    115. Franklin was unconstitutionally deprived of his $98,020 by DHS for at least two years so

far and was not able to purchase his home or pursue his business endeavors. All of this happened to

Franklin even though he was not under investigation for, and did not commit, any crime. It is not a

crime to travel with any amount of cash, traveling with any amount of cash does not give rise to

reasonable suspicion or probable cause, and there are no legal requirements to report to the

government that one is traveling domestically with any amount of cash.

   E. Injuries to Franklin

    116. Franklin has a sole ownership interest in the $98,020.00 in cash that Defendants seized

and that DHS sought to forfeit. Franklin has suffered the loss of use and interest that accrued on that

seized cash for the years it has been retained by DHS and wrongfully withheld from Franklin.

    117. Franklin also has a possessory interest in the seized cash.

    118. TSA and DHS’ ultra vires and unconstitutional seizure of Franklin’s cash, carry-on

luggage, and himself after the transportation security screening had concluded constituted a seizure


                                                  16
of Franklin and violated his Fourth Amendment right to be free from unreasonable seizures.

     119. DHS’ unconstitutional seizure of Franklin and his property based on the fact that he was

traveling with a large amount of cash violated and continues to violate his Fourth Amendment right

to be free from unreasonable seizures. Franklin seeks the vindication of those rights.

     120. Franklin’s inability to use the seized money for years has resulted in ongoing pain and

suffering to Franklin, including but not limited to Franklin’s inability to pay for his house and

business endeavors.

     121. Franklin suffered from the ongoing deprivation of the enjoyment and use of his life savings

for years, materially impacting his quality of life. But for the seizure of the cash, Franklin would

have spent some of the money to buy a home in Oregon, and he would have spent some of the

money on other expenses that would improve Franklin’s quality of life, such as health care.

     122. Franklin has incurred reasonable and necessary attorney fees as a result of Defendants’

illegal and unconstitutional acts.

     123. Franklin suffered and continues to suffer emotional distress, pain, and suffering caused by

the ongoing deprivation of his and his life savings.

     124. Franklin suffered and continues to suffer emotional distress, pain, and suffering caused by

the insult and humiliation of the circumstances and manner of the unlawful seizure.

   F. Continuing and ongoing harm to Franklin from TSA’s and DHS’ airport personal
      seizure and cash seizure policies or practices

     125. Franklin is suffering the continuing, present adverse effects of TSA’s and DHS’ ultra vires

and unconstitutional policies or practices. As a result of Defendants’ ongoing policies or practices,

Franklin has refrained and will refrain from the entirely lawful conduct of flying commercially with

“large” amounts of cash.

     126. Thus, as a result of Defendants’ ongoing policies or practices, Franklin has been deprived

of his preferred way of travelling to find a better quality of life or business venture in another state.

                                                   17
    127. Until Defendants’ airport cash seizure policies or practices are ended, Franklin will, quite

reasonably, not fly commercially with “large” amounts of cash and will have to use time-consuming,

inconvenient, and costly methods to pursue his economic efforts.

                                          TSA Allegations

    128. Congress gave TSA statutory authority to operate under 49 U.S.C. § 114, which makes the

agency “responsible for security in all modes of transportation.” 49 U.S.C. § 114(d). This includes

the authority to conduct air transportation security screening operations. 49 U.S.C. § 114(e).

TSA is statutorily charged with developing “policies, strategies, and plans for dealing with threats

to transportation security.” 49 U.S.C. § 114(f)(3).

    129. TSA’s authority over air transportation security is set forth in 49 U.S.C. § 44903.

    130. TSA’s authority to screen passengers and property is set forth in 49 U.S.C. § 44901.

    131. TSA’s statutory authority is so narrowly limited to these purposes that Congress felt it was

necessary to specifically authorize TSA to keep loose change and other money that is incidentally

left behind at transportation security screening checkpoints. See 49 U.S.C. § 44945.

    132. Transportation security screenings at airport checkpoints by TSA Screeners are

administrative searches conducted for the limited purpose of ensuring transportation security. They

are not, by law, searches conducted for general law enforcement purposes.

    133. TSA’s screening procedures are designed to assess whether air passengers or their luggage

are a threat to transportation security by screening for dangerous items.

    134. The scope of TSA transportation security screenings is limited to “the inspection of

individuals and property for weapons, explosives, and incendiaries.” 49 C.F.R. § 1540.5; see also

49 U.S.C. § 44902.

    135. Air travelers “may not have a weapon, explosive, or incendiary, on or about the

individual’s person or accessible property.” 49 C.F.R. § 1540.111.


                                                 18
     136. A weapon, explosive, or incendiary is specifically defined by TSA in an exhaustive list at

70 Fed. Reg. 9878 (Mar. 1, 2005), https://www.govinfo.gov/content/pkg/FR-2005-03-01/pdf/05-

3977.pdf. TSA’s exhaustive list of defined weapons, explosives, or incendiaries does

 not include “cash,” “currency,” or “money.”

     137. Once TSA Screeners have determined that none of the defined prohibited items are present

and that the traveler, their carry-on luggage, and their personal effects do not present a threat to

transportation security, the transportation security screening has concluded, and TSA Screeners do

not have authority to further detain the traveler, their carry-on luggage, or their personal effects.

     138. Cash is not a weapon.

     139. Cash is not an explosive.

     140. Cash is not an incendiary.

     141. Cash is not a threat to transportation security or air travel safety.

     142. Air travelers with large amounts of cash do not, on that basis, present any threat to

transportation security or air travel safety.

     143. No statute or regulation identifies “cash” or “currency” as a threat to transportation

security or air travel safety.

     144. No statute or regulation identifies “cash” or “currency” as a dangerous or prohibited item

for air travelers.

     145. TSA provides an online list of items which are, or are not, prohibited. See Transportation Security

Administration, What Can I Bring? https://www.tsa.gov/travel/security-screening/whatcanibring/all-list (last

visited July 17, 2020). There are currently 459 items on the list.

     146. Nowhere on this list of 459 items are “cash,” “currency,” or “money” mentioned, let alone

identified as prohibited items.

     147. TSA Management Directive No. 100.4 (Sept. 1, 2009) and TSA Operations Directive 400-

54-6 (Oct. 29, 2009) are agency policies that purport to provide binding guidance to TSA Screeners
                                                 19
regarding their statutory and regulatory authority and duties with respect to the detection of cash or

currency at transportation security screening checkpoints.

     148. TSA admits that “[t]raveling with large amounts of currency is not illegal,” and that the

only relevance of cash or currency to transportation security screenings is that “[l]arge amounts of

currency (‘bulk currency’) can . . . conceal a weapon, explosives, or other items that may pose a

threat to transportation security.” TSA Operations Directive 400-54-6 (Oct. 29, 2009).

     149. Accordingly, “large quantities of currency discovered at the checkpoint, either on a person

or in accessible property, may need closer examination to ensure prohibited items are not secreted

and to clear the person or property to enter the sterile area.” TSA Operations Directive 400-54-6

(Oct. 29, 2009).

     150. If that additional screening is completed uneventfully and no prohibited items are

discovered, the transportation security screening has concluded and the traveler is free to enter the

sterile (secured) area of the airport.

     151. TSA also admits that “[s]creening may not be conducted to detect evidence of crimes

unrelated to transportation security.” TSA Management Directive No. 100.4 (Sept. 1, 2009).

     152. Neither TSA Management Directive No. 100.4 (Sept. 1, 2009) nor TSA Operations

Directive 400-54-6 (Oct. 29, 2009) purports to expand TSA Screeners’ authority or duties beyond

their statutory and regulatory bounds—i.e., administrative screenings limited to threats to

transportation security.

     153. Indeed, no TSA directive could expand TSA Screeners’ authority or duties beyond their

statutory and regulatory bounds.

     154. TSA Screeners have no statutory authority to seize people or property beyond the duration

of the administrative transportation security screening based on the presence of cash.

     155. TSA Screeners also do not have statutory authority to seize other items that do not pose a


                                                 20
threat to transportation security, including potential contraband or potential evidence of a crime

unrelated to transportation security.

    156. Because of the limits of their statutory authority, if TSA Screeners encounter potential

contraband or potential evidence of a crime unrelated to transportation security, they are supposed

to notify law enforcement personnel rather than seize the property or personally investigate.

    157. TSA Operations Directive 400-54-2 incorrectly identified “Large amounts of cash

($10,000)” as an example of “contraband” that should be referred to local law enforcement officers.

    158. The Operations Directive that replaced it, OD-400-54-6, also identifies non- transportation

security related procedures when TSA Screeners encounter a traveler with more than $10,000:

“When a TSO performing routine security screening finds currency that appears to be in excess of

$10,000, the TSO should notify the STSO.” Significant portions of the next two sentences of OD-

500-54-6 are redacted in the publicly available version obtained under FOIA, but it appears to direct

that, in such circumstances, “the STSO should notify local law enforcement authorities and CBP.”

    159. Operations Directive 400-54-6 also identifies non-transportation security related

procedures when TSA Screeners encounter an air traveler with “a large amount of cash that may be

related to criminal activity.” Significant portions of this sentence and the next sentence of OD- 500-

54-6 are redacted in the publicly available version obtained under FOIA, but it appears to direct

that, in such circumstances: “the STSO, local law enforcement authorities, and the [REDACTED]

must be notified.” The first and primary factor identified by OD-500-54-6 as “indicating that

currency may be related to criminal activity” is the “quantity” of currency.

    160. Similarly, TSA’s Screening Management Standard Operating Procedures specify that

supervisor transportation security officers “must” do the following: “Conduct the procedures for

checking travel documents and notifying the LEO and the U.S. Customs and Border Protection

(CBP), when applicable, when U.S. currency or other monetary instruments appearing to exceed


                                                 21
$10,000 is found on an individual or their property during screening.”

    161. Though not instructed or authorized to do so by these written policies, TSA Screeners

frequently detain travelers or their luggage while notifying law enforcement officers about the

presence of a “large” amount of cash—typically but not always amounts of $10,000 or more—on a

traveler’s person or in their luggage and question them while waiting for the law enforcement

officers to arrive and take custody of the traveler or their possessions at the transportation security

screening area.

    162. In addition, TSA’s Screening of Passengers by Observation Technique (“SPOT”) Referral

Report Form instructs TSA Screeners that travelers who have a “Large sum of monies with no

apparent reason to possess” should receive an “Automatic LEO Notification,” meaning that TSA

Screeners should alert law enforcement officers in such situations.

    163. Though not instructed or authorized to do so by this written policy, TSA Screeners

frequently detain travelers or their luggage while waiting for law enforcement to arrive in these

circumstances. TSA screeners also determine the departure gate for the targeted traveler if not

detained so DHS or other law enforcement can detain the traveler at the gate.

    164. As recognized by the DHS Office of Inspector General, “the SPOT program has not

defined how [cash- or currency-related] outputs support achieving the SPOT program goals,” which

are to “identify high-risk individuals who may pose a threat to transportation security.” To

 this end, cash- or currency-related searches and seizures “do not provide a measure of program

 effectiveness.” DHS Office of Inspector General, Transportation Security Administration’s

 Screening of Passengers by Observation Techniques (Redacted) at 6 (May 2013),

 https://www.oig.dhs.gov/sites/default/files/assets/Mgmt/2013/OIG_13-91_May13.pdf.

    165. In contravention of its statutory and regulatory bounds, TSA Screeners follow a TSA

policy or practice of seizing travelers’ cash, carry-on luggage, personal effects, and/or persons after


                                                  22
TSA has determined that no items that pose a threat to transportation security are present and the

transportation security screening has concluded.

     166. As part of this TSA policy or practice, TSA Screeners regularly prolong or extend the

detention of travelers beyond the administrative search of travelers for transportation security

screening purposes in order to investigate matters that are unrelated to transportation security, such

as to conduct investigations into travelers with “large” amounts of cash.

     167. TSA follows this policy or practice based on the presence of what TSA Screeners consider

“large” amounts of cash on travelers or in their carry-on luggage. But traveling with “large” amounts

of cash is not illegal, and an air traveler’s mere possession of “large” amounts of cash, by itself,

does not give rise to reasonable suspicion of a crime, let alone indicate any threat to transportation

security.

     168. Upon information and belief, these TSA seizures of travelers’ cash, carry-on luggage,

personal effects, and/or persons, while temporary, can sometimes last from several minutes to more

than 30 minutes after the transportation security screening is complete.

     169. During this time, TSA Screeners may tell travelers that they are free to leave, but as a

practical matter, travelers may not leave without their seized cash, carry-on luggage, and/or personal

effects.

     170. Despite the clear limitations on its statutory authority, as recently as 2009, TSA openly

acknowledged that TSA Screeners regularly questioned travelers about why they were traveling

with cash and conducted law enforcement investigations, requiring passengers to “account for the

money” they traveled with.

     171. On March 29, 2009, traveler Steven Bierfeldt and his possessions were seized by TSA

Screeners, and he was detained and questioned by TSA Screeners at the St. Louis Lambert

International Airport (STL) because he was traveling with approximately $4,700 in cash. The TSA


                                                   23
Screeners took him to a private interrogation room and questioned him for approximately 30

minutes. An audio recording of the encounter revealed the TSA Screeners repeatedly threatening to

turn him over to the DEA or FBI or to “take him down to the station” if he did not answer their

questions. The money Bierfeldt had with him was entirely lawfully obtained funds belonging to a

political organization, the Campaign for Liberty, and TSA Screeners had no basis to suspect

otherwise.

    172. In response to news about Bierfeldt’s treatment by TSA Screeners at STL, TSA posted the

following statement on its official website on April 3, 2009: “Movements of large amounts of cash

through the checkpoint may be investigated by law enforcement authorities if criminal activity is

suspected. As a general rule, passengers are required to cooperate with the screening process.

Cooperation may involve answering questions about their property, including why they are carrying

a large sum of cash.”

    173. In further response to backlash against the April 3, 2009 post and continued news about

Bierfeldt’s treatment by TSA Screeners at STL, on April 14, 2009, TSA’s Chief Counsel admitted

on TSA’s official website that it is standard practice for TSA Screeners to “ask a passenger who is

carrying a large sum of cash to account for the money.” She further stated that the agency viewed

detecting “signs of criminal activity” as one of the principal duties of TSA Screeners along with

“reacting to potential security problems.” She further admitted that TSA screeners wildly exceed

their authority to screen passengers for transportation security: “When presented with a passenger

carrying a large sum of money through the screening checkpoint, the TSA officer will frequently

engage in dialog with the passenger to determine whether a referral to law enforcement authorities

is warranted. The TSA officer may consider all circumstances in making the assessment, including

the behavior and credibility of the passenger.”

    174. In June 2009, Bierfeldt sued then-Secretary of Homeland Security Janet Napolitano for


                                                  24
TSA’s violation of his Fourth Amendment rights, pointing out that TSA was also exceeding its

statutory authority with policies that directed TSA Screeners to conduct law enforcement

investigations rather than limit their searches of travelers and their luggage to transportation security

purposes.

    175. In response to Bierfeldt’s lawsuit, TSA issued two new directives related to screening

operations, TSA Management Directive No. 100.4 (Sept. 1, 2009) and TSA Operations Directive

400-54-6 (Oct. 29, 2009). These directives purport to limit TSA Screeners’ behavior to that

authorized by statute and permitted by the Fourth Amendment. Bierfeldt dismissed his lawsuit

without any judicial determinations regarding any of TSA’s policies or practices.

    176. Neither TSA Management Directive No. 100.4 (Sept. 1, 2009) nor TSA Operations

Directive 400-54-6 (Oct. 29, 2009) purports to give TSA Screeners the authority to conduct the ultra

vires and unconstitutional seizures described in this complaint.

    177. Unfortunately, despite the existence of these directives, TSA Screeners continue to

conduct the same unlawful and unconstitutional actions that led to the Bierfeldt lawsuit: for no

transportation security objectives and based solely on the presence or amount of cash, TSA

continues to seize “large” amounts of cash and continues to question, investigate, and seize travelers

with “large” amounts of cash. Upon information and belief, TSA Screeners conduct these ultra vires

and unconstitutional seizures pursuant to an unwritten policy or practice, or pursuant to some other

non-public written policy, as demonstrated by the examples cited herein.

   A. Nationwide examples of TSA Screeners following the challenged TSA personal seizure
      and cash seizure policy or practice

    178. Franklin’s experience is just one example of TSA’s personal seizure and cash seizure

policy or practice. The following are more examples that demonstrate TSA’s challenged policy or

practice on an ongoing national scale.

    179. On or about February 25, 2020, Kamal Hawkins was traveling from the Raleigh-Durham

                                                   25
International Airport (RDU) in North Carolina to his home in Los Angeles, California with

approximately $26,000 in cash in his luggage. The cash was his life earnings, including money he

earned from his production and clothing businesses, as well as financial aid he recently received for

college. When Mr. Hawkins went through the transportation security screening checkpoint, a TSA

Screener pulled his bag aside and went through it, finding some of the cash in a pants pocket. When

Mr. Hawkins explained that more of his money was in the bag, the TSA Screener said, “Hold on

right here” and summoned other TSA Screeners to the scene. The TSA Screeners told Mr. Hawkins

that they needed to take him to an interrogation room “in the back” to investigate his cash. One TSA

Screener told Mr. Hawkins he could walk away, but not with his luggage or his life earnings and

education funds. He had no choice but to submit to the TSA Screeners’ backroom interrogation—

which was not based on any findings of weapons, explosives, incendiaries, or other prohibited items,

but was based solely on presence or amount of cash that Mr. Hawkins was traveling with. The TSA

Screeners took Mr. Hawkins to a private interrogation room and began asking questions about the

cash and inspecting the various business and financial documents he provided. They held Mr.

Hawkins, his luggage, and his life earnings for approximately 10-15 minutes until RDU airport

police arrived to continue the law enforcement interrogation.

    180. On September 20, 2019, Boris Nulman was departing from the Tampa International

Airport (TPA) in Florida for Cleveland, Ohio with at least $181,500 in cash to purchase one or more

pre-owned tractor trailer trucks as a purchasing agent for FGL Transport, Inc., a licensed trucking

company. As Mr. Nulman went through the transportation security screening checkpoint with the

cash in his carry-on bag, TSA Screeners pulled aside his bag solely because they observed the cash

in the X-Ray scan of his bag. The TSA Screeners told Mr. Nulman that they were going to hold on

to his cash and carry-on luggage until law enforcement officers arrived. Mr. Nulman reasonably

believed he was being detained by the TSA Screeners and did not feel free to leave. Even if he had


                                                 26
been told he was free to leave, it would not have been practical or reasonable for him to leave the

transportation security screening area without his carry-on luggage or the cash, so he was effectively

seized along with his carry-on luggage and the cash. Mr. Nulman had no weapons, explosives,

illegal drugs, or other contraband in his luggage or on his person.

    181. On November 13, 2018, at the Eugene Airport (EUG) in Oregon, TSA seized an adult

male domestic air traveler and his possessions solely because he was traveling with $100,000 in

cash from a business he had just sold. The traveler had the cash in his carry-on backpack. TSA

Screeners pulled his backpack aside after they evidently saw the cash during the X-Ray screening.

The traveler had no weapons, explosives, incendiaries or other prohibited items. After searching his

backpack, TSA Screeners pulled him aside and walked him to a separate interrogation room, where

they told him that somebody else had a few questions for him. He did not feel free to leave. He was

then questioned by DEA agents, who seized the $100,000 in cash for civil forfeiture. After the

traveler retained an attorney, all his seized money was eventually returned, but he had to pay one

third of the recovered money to his attorney as a contingency fee.

    182. On November 9, 2018, at approximately 10:00 a.m. local time, an adult male traveling

through Phoenix Sky Harbor International Airport (PHX) in Arizona en route to Detroit, Michigan

with more than $10,000 in cash on his person was pulled aside by TSA Screeners at the

transportation security screening checkpoint and questioned for approximately 10-15 minutes about

why he was traveling with what the TSA Screeners called a “suspicious” amount of cash. He

informed the TSA Screeners that he was only traveling domestically, but they continued to question

him about the cash, preventing him from proceeding to his gate for several minutes. He did not feel

free to leave while this was happening. The traveler had no weapons, explosives, incendiaries, or

other prohibited items, and the TSA Screeners did not mention any threats to transportation

security—they were only interested in the cash. One of the TSA Screeners who questioned the air


                                                 27
traveler was TSA Transportation Security Manager Lori Barr, who gave the air traveler his contact

card.

    183. On June 11, 2018, TSA Screeners seized an adult male and his $30,000 in cash while he

was traveling back to his home in Sacramento, California from Little Rock, Arkansas. He was

returning from a business trip to buy used cars and had brought the cash to make on-the-spot

purchases. When he went through transportation security screening at the Clinton National Airport

(LIT) in Little Rock, a TSA Screener pulled aside his carry-on bag and searched it after claiming to

have seen a “suspicious object” displayed on the X-Ray monitor. There were no weapons,

explosives, incendiaries, or other prohibited items in his carry-on bag, but it contained the $30,000

in cash. Upon finding the money, the TSA Screener told the traveler that he would have to call a

supervisor. The supervisor TSA Screener arrived and questioned the traveler about why he was

traveling with so much money. The TSA Screeners made no mention of any threats to transportation

security. The traveler believed he was not free to leave or walk away and that he had to answer the

supervisor TSA Screener’s questions. The supervisor TSA Screener detained the traveler and his

carry-on bag until a law enforcement officer arrived at the scene and continued the detention based

on the presence or amount of cash. The officer ultimately seized the cash for civil forfeiture. After

the traveler filed a CAFRA claim demanding that the government pursue civil forfeiture, all of his

money was returned approximately five to six months after the seizure.

    184. On March 26, 2018, TSA Screeners seized Tom Hill and $62,000 in cash that he was

traveling with at John F. Kennedy International Airport (JFK) in New York. Mr. Hill was traveling

back to his home in Cedar City, Utah from a business trip to New York City to collect a cash

payment from a client of his technology resale business. When Mr. Hill approached the

transportation security screening checkpoint at JFK, he asked the TSA Screener for a private

screening and said he was traveling with $62,000 in cash. The TSA Screener called a supervisor


                                                 28
TSA Screener. That supervisor did a secondary screening of his carry-on luggage, recorded Mr.

Hill’s information, photocopied his driver’s license, took his business card, and asked questions

about the cash. Mr. Hill did not feel free to leave while this was happening. The TSA Screeners did

not mention any transportation security threats, and Mr. Hill had no weapons, explosives,

incendiaries, or other prohibited items on his person or in his carry-on luggage. Mr. Hill was

eventually released. At his departure gate, DEA agents approached and interrogated Mr. Hill based

on their knowledge that he was traveling with a large amount of cash, and they seized his cash for

civil forfeiture. A year later, after spending more than $10,000 in attorney’s fees, all but $1,000 of

the seized cash was returned ($1,000 went missing and DEA claimed they had only seized $61,000

from Mr. Hill).

    185. Tom Hill had another similar experience with TSA Screeners seizing him and his cash at

the Philadelphia International Airport (PHL) approximately one year earlier, in 2017, when he was

traveling with about $60,000. When Mr. Hill approached the transportation security screening

checkpoint at PHL, he notified the TSA Screeners that he had cash and asked to speak to a

supervisor. The TSA Screeners directed him to a private room where they checked his bags and

briefly detained him while they made a phone call. Mr. Hill did not feel free to leave while this was

happening. The TSA Screeners eventually released him to catch his flight.

    186. On or about February 14, 2017, TSA Screeners stopped and detained Charles Homan at

the Baltimore/Washington International Airport (BWI) in Maryland after they discovered a “large”

amount of cash in his carry-on luggage. The cash was the sole basis for the detention; the TSA

Screeners made no mention of any potential transportation security threats.

    187. On or about June 30, 2015, TSA Screeners seized a male air traveler and his $75,000 in

cash in a carry-on bag at the transportation security screening checkpoint at the Richmond

International Airport (RIC) in Virginia. TSA officers subsequently took a photo of the carry-on bag


                                                 29
and the cash, and a TSA employee tweeted the photo from Twitter account @TSAmedia_LisaF

with the message: “If you had $75,000, is this how you'd transport it? Just asking! TSA @ #RIC

spotted this traveler's preferred method.” No mention was made of any transportation security

threats. The passenger was permitted to board his flight, but WTVR news reported: “An airport

spokesperson said the money was turned over to an unspecified federal agency.”

    188. On or about July 14, 2014, TSA Screeners at Newark Liberty International Airport (EWR)

seized, questioned, and investigated Damon Rasbury at the transportation security screening

checkpoint because he “was in possession of a large amount of United States currency in his carry-

on luggage.” TSA Screeners questioned Mr. Rasbury about whether there was any contraband in

his luggage, searched his bag and found $5,000 in cash, asked him if there was any other cash in

the luggage, and continued searching his luggage for more cash, with no evident transportation

security purpose for this investigation.

    189. In approximately 2013, TSA Screeners questioned software engineer Aaron Nabil-

Eastlund about why he was traveling with “so much cash” at the transportation security screening

checkpoint at the Portland International Airport (PDX) in Oregon. There was no evident

transportation security purpose for the question and he had no weapons, explosives, incendiaries, or

other prohibited items on his person or in his carry-on luggage. He was traveling with approximately

$5,000-$10,000 in his carry-on bag to play poker recreationally. Mr. Nabil-Eastlund declined to

answer and asked if cash was prohibited on the aircraft. He was ultimately permitted to proceed to

his gate with his cash. As a result of this experience and his knowledge of TSA’s cash seizure policy

or practice, Mr. Nabil-Eastlund (who travels regularly with cash as a recreation poker player) takes

burdensome precautions, including making a special appointment with his bank to secure fresh bills

directly from the Federal Reserve that federal agencies cannot accuse of being illicit or smelling of

drugs.


                                                 30
     190. On August 11, 2011, TSA Screeners detained Michael Gordon and his possessions at the

transportation security screening checkpoint at Logan International Airport (BOS) in Boston after

TSA Screeners found $60,000 in his carry-on bag. Mr. Gordon and his possessions were held at the

checkpoint for up to 15 minutes until law enforcement officers arrived. No transportation security

or other valid reason for the TSA detention was evident; the presence or amount of the cash was the

sole basis.

     191. Documents obtained under FOIA related to the Buffalo Niagara International Airport

(BUF) in New York indicate that TSA Screeners there regularly exceed their statutory authority by

detaining travelers with cash and sometimes questioning them about that cash. For example:

              a. A BUF Transit Authority Police Department Police Report dated December 17,

                  2016 states that on that day a traveler was “stopped by the TSA at the BNIA

                  checkpoint with a large amount of U.S. currency on his person and carry on

                  backpack held a Jet Blue Airlines ticket for flight# 1001 to JFK (NYC) . . .”

                  (emphasis added).

              b. The same December 17, 2016 BUF Transit Authority Police Report also explains

                  that the cash was not found while looking for weapons or explosives, but in a

                  search for the cash itself after a TSA Screener operating an X-Ray machine

                  identified it as cash: “TSA Supervisor C. Moore . . . stated that a male attempted

                  to come through lane 4 of the checkpoint with a large sum of US currency. TSA

                  Officer B McMillan was operating the x-ray machine and observed the currency

                  in the subjects backpack. TSA Officer S Greiner searched the subjects bag,

                  locating the currency, who then notified Supervisor Moore.”

              c. Another BUF Transit Authority Police Department Police Report states that on

                  February 27, 2016, a “subject was stopped by TSA personal [sic] at the


                                                31
   checkpoint with a large sum of US currency. The subject was traveling with four

   (4) large bundles of US currency, which was located in his shoes in his carry-on

   bag. The bundle appeared to be mostly $20 bills.” (emphasis added).

d. Another BUF Transit Authority Police Department Police Report states that on

   November 30, 2016, TSA interviewed a traveler about a “large amount of U.S.

   currency he was found to be carrying by the TSA at the BNIA checkpoint.” The

   report states that the traveler “was attempting to return home to NYC when

   stopped at the checkpoint with the cash.” (emphasis added).

e. Another BUF Transit Authority Police Department Police Report states that on

   May 8, 2017, a traveler “was found by TSA to be carrying a large amount of U.S.

   Currency inside of a large wallet that was inside of his purse. Wallet containing

   the currency was placed inside of a gray plastic TSA property bin which was

   turned over to the Reporting Detective by TSA.” (emphasis added).

f. Another BUF Transit Authority Police Department Police Report states that on

   March 14, 2019, TSA Screeners encountered two travelers at “lane 4 of the TSA

   Security Checkpoint at BNIA” and “Suspect 2 was asked by Reporting Officer

   if he was also carrying currency he then replied yes cash with the assistance

   of TSA Cheryl Hamm did locate in suspects backpack a plastic bag

   containing money.” (emphasis added.)

g. Another BUF Transit Authority Police Department Police Report states that on

   April 18, 2017, “TSA SUPERVISOR CILANO” questioned a passenger about

   the cash found in his luggage and then escorted the passenger to the reporting

   police officer: “CILANO ASKED" “IS THIS CASH?” SUB STATED “YES”

   CILANO STATED “THATS [sic] A LOT OF MONEY" AND THE SUB SAID


                                 32
                 “ITS [sic] TO BUY AND [sic] ENGAGEMENT RING.” CILANO ASKED IS

                 THERE AND [sic] A REASON ITS [sic] PACKAGED LIKE THAT? SUB

                 STATED “THATS HOW I DO IT” AT THIS POINT SUPERVISOR CILANO

                 DID BRING THE SUB BACK TO RO [the reporting officer].”

              h. Another BUF Transit Authority Police Department Police Report dated April 1,

                 2018 documents that TSA Supervisor Cilano told a passenger that the passenger

                 was required to speak with law enforcement about the “Large amount of

                 currency” in his carry-on luggage. The reporting police officer “was alerted by

                 TSA Supervisor Cilano that the above listed subject had a “Large amount of

                 currency” in his carry-on bag. TSA Supervisor Cilano stated that when he

                 informed the subject that she would need to speak with an Officer, she stated

                 to him that the money in his bag was for a down payment on a 2006 Lexus that

                 she was flying to NYC to buy.” (emphasis added).

              i. Another BUF Transit Authority Police Department Police Report dated March

                 21, 2019 documents that TSA Supervisor Cilano escorted a passenger with a

                 “large undetermined amount of currency” in his carry-on luggage to the reporting

                 police officer at the police podium: “TSA informed me that they found a large

                 undetermined amount of currency in subject 1’s carry-on bag. The subject and his

                 2 bags came thru security lane number 4A and his back pack only was inspected

                 by TSA supervisor Jay Cilano. Subject with his bags in hand was escorted to

                 police podium so that R/O could speak with him.”

   192.       Documents obtained under FOIA related to the Buffalo Niagara International Airport

(BUF) in New York also indicate that $10,000 continues to be TSA’s threshold for seizing cash and

alerting law enforcement. For example:


                                               33
              j. A BUF Transit Authority Police Department Police Report states that on

                  November 14, 2018, “PATROL WAS APPROACHED BY TSA AGENT

                  CRAIG BURNS (REPORTING PERSON-1) STATING THEY HAVE A

                  TRAVELING PASSENGER (SUBJECT -1) WITH OVER $10,000.00 U.S.

                  CURRENCY IN HIS CARRY ON BAG. SUBJECT -1 WAS ATTEMPTING

                  TO CLEAR THE SECURITY CHECKPOINT AND BOARD JET BLUE

                  FLIGHT #1901.” (emphasis added)

              k. Another BUF Transit Authority Police Department Police Report states that on

                  March 16, 2017: “TAPD OFCS..JAWOREK AND LAMONTE RESPONDED

                  TO LANE #4 AT THE BNIA CHECKPOINT. TSA AGENT LEIDENFROST

                  TOLD OFCS.THAT THE SUBJECT HAD A [sic] APPROX. $11,000 IN US

                  CURRENCY IN HIS POSSESSION.” The same report also states: “TSA

                  personal [sic] did discover the large sum of currency after the screening process

                  on lane 4.” (emphasis added).

    193. These temporary TSA seizures of travelers’ cash, carry-on luggage, and/or personal

effects meaningfully interfere with these travelers’ possessory interest in their property. For

example, while TSA Screeners seize their cash and/or carry-on luggage, travelers cannot take their

cash and/or carry-on luggage with them to their boarding gate, use items in their carry-on luggage,or

use the cash to purchase items in the airport.

    194. Travelers typically keep valuable or important personal effects and property in their

carry-on luggage that they cannot realistically leave behind, including cell phones, laptop computers

and tablets, wallets, credit cards, passports and other identification documents, travel documents,

appointment books, medications, essential toiletries, and clothes. This is particularly true while

going through TSA transportation security screening, because travelers are typically instructed by


                                                  34
TSA to remove everything from their pockets and are typically not permitted to have anything on

their person that will cause TSA metal detectors or other screening devices to alert.

    195. Because these TSA seizures are of a traveler’s valuable or important possessions, which

typically include their cash and their carry-on luggage (including their personal effects stored in

their carry-on luggage), the traveler is effectively seized when their property is seized.

    196. TSA’s policy or practice of seizing travelers’ cash, carry-on luggage, personal effects,

and/or persons after the transportation security screening has concluded is ultra vires because it

exceeds TSA’s statutory authority to exercise administrative powers related to transportation

security and to conduct “day-to-day Federal security screening operations for passenger air

transportation and intrastate air transportation,” 49 U.S.C. § 114(e)(1), which TSA defines as “the

inspection of individuals and property for weapons, explosives, and incendiaries,” 49 C.F.R. §

1540.5.

    197. TSA’s policy or practice of seizing travelers’ cash, carry-on luggage, personal effects,

and/or persons after the transportation security screening has concluded and without reasonable

suspicion or probable cause also violates the Fourth Amendment’s prohibition against unreasonable

searches and seizures by seizing property and persons beyond the time and scope of the mission for

which the agency’s initial lawful administrative search was initiated.

                                   DHS/DEA Allegations

    198. Every year, DHS and DEA conducts tens of thousands of seizures of cash, including

hundreds or even thousands of seizures of cash from travelers at U.S. airports.

    199. From 2009 to 2013, DHS and DEA seized over $2 billion in currency.

    200. DEA made more than 80,000 seizures of currency (totaling over $4 billion) from FY

2007 to FY 2016, which is approximately 80% of all federal seizures of cash by DOJ agencies

during that period. From 2009 to 2013, DHS and DEA interdiction Task Force Groups, which


                                                  35
operate at airports and other mass transportation facilities, seized $163 million in more than 4,000

individual currency seizures.

    201. DEA has operated an “airport interdiction task force” at one or more U.S. airports since

at least 1975.

    202. DEA sometimes refers to its airport interdiction activities as “Operation Jetway.”

Operation Jetway is also the name of DEA’s transportation interdiction training course for airports.

Operation Jetway is the airport counterpart to DEA’s Operation Pipeline, which is DEA’s

nationwide highway interdiction program that focuses on roadway interdiction of passenger and

commercial motor vehicles.

    203. The Operation Jetway airport interdiction program was established in 1993 with DEA as

the lead agency, to provide standardized training and to collect and analyze arrest and seizure data

from federal, state, and local drug interdiction units working at airports and other mass

transportation facilities.

    204. In 2001, DEA collected data on Operation Jetway airport interdiction operations at 77

U.S. airports.

    205. Upon information and belief, DEA now operates an Operation Jetway airport interdiction

program at every major commercial airport in the United States.

    206. A 2017 report by the DOJ Office of Inspector General reviewed a sample of 100 DEA

currency seizures that “appeared to have occurred without a court-issued warrant and without the

presence of narcotics” and “found that 85 of the 100 seizures occurred as a result of interdiction

operations at transportation facilities, such as airports” Of those 85 seizures, 46 occurred at

 airports. DOJ Office of Inspector General, Review of the Department’s Oversight of Cash Seizure
 and Forfeiture Activities at iii, 22 (Mar. 2017) (“2017 OIG Report”),

 https://www.oversight.gov/sites/default/files/oig-reports/e1702.pdf.

    207. DEA’s airport interdiction and seizure practices focus on seizing cash, not on stopping
                                                 36
crime. The 2017 OIG Report found that DEA could verify that “only 29 of the 85 interdiction

seizures, had (1) advanced or been related to ongoing investigations, (2) resulted in the initiation of

new investigations, (3) led to arrests, or (4) led to prosecutions.” This “risks the reality that [DEA]

is more interested in seizing and forfeiting cash than advancing an investigation or prosecution.”

2017 OIG Report at iii; id. at 20 (“many of the DEA’s interdiction seizures may not advance or

relate to criminal investigations”).

    208. Because the vast majority of interdiction encounters and seizures are conducted “absent

any preexisting intelligence of a specific drug crime,” there are “potential risks to civil liberties

associated with [so-called] cold consent encounters that occur during transportation interdiction

operations.” 2017 OIG Report at iii; id. at 21-22 (“interdiction operations at transportation facilities

can be particularly susceptible to civil liberties concerns”).

    209. DEA Agent Anthony DiGiovanni’s status as an instructor for DEA interdiction efforts,

including Operation Pipeline and Operation Jetway, demonstrates that DEA’s policies or practices

described and challenged in this lawsuit are not the acts of rogue or poorly trained DHS or DEA

interdiction agents, but are the policies or practices actually being taught by DEA interdiction

instructors such as Mr. DiGiovanni and implemented by DHS and DEA interdiction agents such as

Mr. DiGiovanni, Mr. Muise, and Mr. Schaffner at U.S. airports.

   A. DHS and DEA’s unconstitutional policy or practice of conducting suspicionless non-
      consensual seizures of air travelers based solely on the knowledge or belief that they
      are traveling with a “large” amount of cash

    210. DHS and DEA’s airport interdiction and seizure practices are typically not conducted as

part of ongoing or known criminal investigations, are not random, and are not based on agents’

identification of behaviors that give rise to reasonable suspicion or probable cause.

    211. Instead, DHS and DEA interdiction agents have a policy or practice of conducting

suspicionless non-consensual seizures of airport travelers based solely on the agents’ knowledge or


                                                  37
belief that those specific travelers are traveling with a “large” amount of cash. Because that

knowledge or belief does not itself give rise to reasonable suspicion, these targeted airport seizures

are suspicionless non-consensual seizures that violate the Fourth Amendment.

    212. Especially after the September 11, 2001 terrorist attacks, commercial airports in the

United States have become high-security areas manned and patrolled by numerous government

agents, including TSA Screeners and law enforcement officers such as DEA and various DHS

agencies and “Task Force Officers”.

    213. At commercial airports, while the secured area past the transportation security screening

checkpoint is particularly high security, the entire airport is a high-security area, including the

baggage claim area, ticketing counter, and luggage drop-off areas, which are routinely patrolled and

monitored by law enforcement officers and other government or airport personnel.

    214. At commercial airports, air travelers know that they can be prevented from flying,

detained, arrested, and face criminal charges and/or civil fines for making careless comments about

certain topics related to transportation security, such as any statements—even including obvious

jokes—alluding to a traveler possessing weapons or explosives.

    215. Air travelers at transportation security screening checkpoints are legally required to

present their identification documents and boarding pass and to truthfully answer questions posed

by TSA Screeners about their identity, travel plans, the purpose of their travel, and the contents of

their luggage and other belongings on their person, including whether they have any weapons,

explosives, incendiaries or other prohibited items. Airline travelers know that failure to comply with

these requirements, questions, and searches is likely to result in them being prevented from flying,

detention, criminal charges, and/or civil fines.

    216. Even after passing through transportation security screening checkpoints, air travelers

are legally required to comply with the lawful commands of TSA officials and other government


                                                   38
personnel. Air travelers know or are likely to reasonably believe that failure to comply with these

requirements, questions, and searches is likely to result in them being prevented from flying,

detention, arrest, criminal charges, and/or civil fines.

    217. Even when air travelers are not at transportation security screening checkpoints, air

travelers may be required to submit to “Administrative Searches” or “Special Needs Searches” of

their person and/or luggage by TSA—or by non-TSA personnel, including law enforcement

officers, acting at TSA’s direction—to ask about and search for weapons, explosives, incendiaries,

or other prohibited items. These “Administrative Searches” or “Special Needs Searches” may occur

in any area of the airport, such as during Gate Screenings at the boarding gate, Reverse Screenings

upon arrival at a flight’s destination, or Regulatory Inspections. See TSA Management Directive

No. 100.4 (Sept. 1, 2009). Air travelers know or are likely to reasonably believe that failure to

comply with these requirements, questions, and searches is likely to result in them being prevented

from flying, detention, arrest, criminal charges, and/or civil fines.

    218. In these contexts—which can arise in any area of an airport—“[s]creening and searches

may be conducted by TSA personnel or at the direction of TSA, and may be initiated by TSA

Headquarters or local TSA officials. TSA will consult and coordinate with Federal, state, and local

law enforcement officials, as well as affected transportation entities, as appropriate, when

conducting these operations.” TSA Management Directive No. 100.4 (Sept. 1, 2009).

    219. Among the personnel that TSA deploys to conduct such “Administrative Searches” or

“Special Needs Searches”—which can arise in any area of an airport—are armed Visible Intermodal

Prevention and Response (“VIPR”) teams designed to “augment the security of any mode of

transportation. VIPR teams may comprise any asset of DHS, including FAMs (Federal Air

Marshals), TSIs (Transportation Security Inspectors), canine detection teams, and detection

technology.” TSA Management Directive No. 100.4 (Sept. 1, 2009).


                                                   39
    220. Given the high-security environment of an airport and federally mandated compliance

with these security procedures—which can arise in any area of an airport and involve multiple

different government officials from different agencies—when air travelers are approached by law

enforcement officers such as DHS or DEA interdiction agents in an airport, most air travelers

reasonably believe the encounter is part of their ongoing obligation to comply with federal

government questions and searches that are attendant to air travel at commercial airports—

especially when the agents ask targeted, individualized, or personalized questions similar to those

asked at the transportation security screening checkpoint.

    221. Given the high-security environment of an airport and federally mandated compliance

with these security procedures—which can arise in any area of an airport and involve multiple

different government officials from different agencies—when air travelers are approached by law

enforcement officers such as DHS or DEA interdiction agents in an airport, most air travelers

reasonably believe they are legally obligated to cooperate with those officers, including truthfully

answering the officers’ questions and submitting to a search of their person and luggage—or likely

risk being prevented from flying, detention, criminal charges, and/or civil fines.

    222. This is particularly true when law enforcement officers begin the encounter by asking

questions that seem related to transportation security, such as questions about an air traveler’s

identity, travel plans, the purpose of their travel, or the contents of their luggage and other

belongings. This is also particularly true when law enforcement officers ask targeted questions or

make statements demonstrating that they already know specific personal information about the

traveler, such as the traveler’s name, itinerary, or that the traveler is traveling with cash.

    223. For all of these reasons, and as exemplified by Plaintiff Franklin’s suspicionless seizure

by Defendant DHS agent Muise and by the additional examples herein, when DHS/DEA

interdiction agents approach and ask targeted questions of specific travelers at airports who the


                                                   40
DHS/DEA agents know or believe to be traveling with a large amount of cash, these are non-

consensual encounters.

    224. As a result, in the federal-government-controlled post-9/11 high-security context of a

commercial airport, when a federal law enforcement officer asks an air traveler a question indicating

that the federal law enforcement officer knows something about the traveler’s circumstances—e.g.,

the traveler’s name, the traveler’s itinerary, or that the traveler is traveling with cash—the traveler

is not free to walk away or to decline to answer the federal law enforcement officer’s questions and

is seized by the federal law enforcement officer.

    225. DHS/DEA interdiction agents have a policy or practice of conducting these airport

seizures of targeted travelers based solely on the DHS/DEA agents’ knowledge or belief that the

targeted travelers are traveling with large amounts of cash. This policy or practice of conducting

targeted suspicionless non-consensual seizures in the post-9/11 high-security context of a

commercial airport—where no reasonable person would feel free to walk away from or ignore

federal law enforcement officers—violates the Fourth Amendment.

    226. DHS/DEA’s policy or practice of conducting suspicionless non-consensual seizures of

air travelers based solely on DHS/DEA interdiction agents’ knowledge or belief that those specific

travelers are traveling with a “large” amount of cash is related to DHS/DEA interdiction agents’

policy or practice of seizing for civil forfeiture any cash found that totals more than $5,000—

because DHS and DEA deems “large” amounts of cash presumptively subject to seizure regardless

of whether there is probable cause for the seizure. This second policy (described more fully below)

is also exemplified by Defendant Muise’s seizure of Plaintiff Franklin’s cash on November 13, 2019

and by the additional examples herein.

   B. DHS/DEA’s unconstitutional policy or practice of seizing for civil forfeiture “large”
      amounts of cash from air travelers because DHS/DEA deem “large” amounts of cash
      presumptively subject to seizure


                                                  41
    227. In addition to their policy or practice of conducting suspicionless non-consensual

seizures of air travelers at airports, DHS and DEA interdiction agents also follow a related policy

or practice of seizing cash without probable cause from travelers at U.S airports for civil forfeiture

based on the presence of a “large” amount of cash in the traveler’s possession—because DHS and

DEA deem “large” amounts of cash presumptively subject to seizure, regardless of whether there is

probable cause for the seizure.

    228. DHS and DEA interdiction agents follow a policy or practice of seizing cash from

travelers at U.S. airports when the amount of cash meets or exceeds a threshold amount that

DHS/DEA interdiction agents consider “suspicious” and presumptively subject to seizure and civil

forfeiture, regardless of whether there is probable cause for the seizure.

    229. $5,000 is the typical threshold amount of cash that DHS/DEA interdiction agents deem

presumptively subject to seizure for civil forfeiture, regardless of whether there is probable cause

for the seizure. The specific threshold amount deemed presumptively subject to seizure may vary

by interdiction agent and may be as low as $1,000 or as high as $10,000.

    230. The vested interest the interdiction agents have due to the “sharing arrangement” for

forfeited money creates confirmation bias in their investigation and definition of just what is

“suspicious.”

    231. Franklin was subjected to DHS and DEA’s policy or practice of seizing cash without

probable cause from travelers at U.S. airports for civil forfeiture when it is deemed presumptively

subject to seizure because it totals $5,000 or more.

    232. Both of the aforementioned DHS and DEA airport personal seizure and cash seizure

policies or practices violate the Fourth Amendment’s prohibition against unreasonable searches and

seizures.

    233. Due to his knowledge of these DHS and DEA airport personal seizure and cash seizure


                                                  42
policies or practices, Franklin has refrained and will continue to refrain from the entirely lawful

activity of flying commercially with “large” amounts of cash.

   C. Nationwide examples of DEA agents following the challenged DHS and DEA airport
      personal seizure and cash seizure policies or practices

    234. Franklin’s experience is just one example of DHS and DEA’s airport personal seizure

and cash seizure policies or practices. Counsel is aware of the following examples that demonstrate

either or both of DHS/DEA’s challenged policies or practices on an ongoing national scale.

    235. In January 2016, two DEA interdiction agents at the Cincinnati/Northern Kentucky

International Airport (CVG) testified that, pursuant to their training, $5,000 carried by any air

traveler was presumptively subject to seizure. One officer testified that pursuant to federal policy,

“my understanding was anything over $5,000 was subject to seizure.” Dep. of Christopher Boyd,

No. 2:14-cv-125, Dkt. 76-1 at 34 (Jan. 20, 2016). Another DEA interdiction agent explained that

“DEA passed out a card with the threshold levels on them,” explaining that $5,000 was a “federal

threshold.” He went on to explain that “98 percent of the time we don’t entertain anything less than

the threshold, which would be $5,000.” Dep. of William Conrad, No. 2:14-cv-125, Dkt. 76-2 at 28-

30 (Jan. 21, 2016).

     236. Upon information and belief, these DEA interdiction agents were likely referencing the

 DOJ Asset Forfeiture Policy Manual’s instruction that to forfeit cash, the “minimum amount must

 be at least $5,000,” which “generally must be met, preferably before property is seized.” DOJ

 Asset    Forfeiture   Policy     Manual     (2019)    Ch.   1,   https://www.justice.gov/criminal-

 afmls/file/839521/download; see also DOJ Asset Forfeiture Policy Manual (2016) Ch. 1 (same); DOJ

 Asset Forfeiture Policy Manual (2013) Ch. 1 (same).

    237. Given these DEA interdiction agents’ testimony, it is apparent that at least in some

instances, DOJ’s minimum forfeiture policy has been taught to or interpreted by DEA interdiction

agents as a presumptive policy to seize any amounts of cash totaling $5,000 or more. Indeed, the

                                                  43
DOJ Office of Inspector General “highlight[ed] one such seizure . . . that was of particular concern

because DEA agents and task force officers seized concealed currency from a piece of checked

luggage without attempting to question the owner or otherwise conduct any investigation.” 2017

OIG Report at 27.

    238. On May 26 2020, DEA agents seized an adult male domestic air traveler at

Minneapolis−Saint Paul International Airport (MSP) and his cash. The agents told an airline agent

to call the man’s name over a speaker; when he heeded this DEA summons, the agents conducted a

non-consensual interrogation, search, and seizure. The traveler had no illegal drugs or contraband.

The man did not feel free to walk away or to decline to answer the DEA agents’ questions after they

summoned him in the airport. The DEA agents seized over $10,000 from the man, explaining: “You

have to have a legitimate reason to travel with a large amount of currency”—even though traveling

with any amount of cash is entirely lawful, including for no reason at all. The air traveler was not

arrested or charged with any crime.

    239. On or about March 11, 2019, DEA agents at Chicago’s O’Hare International Airport

(ORD) approached domestic air traveler Jordan Brooks as he was about to board his departing flight

for California and began interrogating him about whether he had cash in his carry-on luggage,

presumably because TSA Screeners had notified the DEA agents about the cash. The DEA agents

interrogated Mr. Brooks solely on the basis of their knowledge or belief that he was traveling with

a large amount of cash. He did not have any illegal drugs, contraband, or prohibited items, and the

DEA agents had no reason to think that he did. Nevertheless, Mr. Brooks did not feel free to walk

away or to decline to answer the agents’ questions at any time. Almost immediately, they asked if

he had any cash, and when he said yes, they seized for civil forfeiture his entire $16,000 in lawfully

earned earnings. The amount of cash was the sole basis for the seizure—which is not a

constitutionally valid reason. Mr. Brooks was not arrested or charged withany crime.


                                                 44
    240. On November 13, 2018, at the Eugene Airport in Oregon (EUG), DEA agents

interrogated an adult male domestic air traveler after the traveler and his possessions were seized

by TSA and placed in an interrogation room solely because he was traveling with approximately

 $100,000 in cash. The DEA agents, like the TSA Screeners, detained and interrogated him in the

 room based solely on the fact that he was traveling with a large amount of cash. The traveler had

 no illegal drugs or contraband. At no point did he feel free to walk away or to decline to answer

 the DEA agents’ questions. The DEA agents seized the $100,000 for civil forfeiture without

 probable cause. The traveler was not arrested or charged with any crime. After the traveler retained

 an attorney, all his seized money was eventually returned, but he had to pay one third of the

 recovered money to his attorney as a contingency fee.

    241. On August 27, 2018, Youngmin Peter Han was traveling from New Jersey to California

when TSA Screeners saw him move cash from his jacket to his bag while going through the

transportation security screening. When he landed at the Dallas-Fort Worth (DFW) airport for a

layover, three or four DEA agents approached him and identified themselves as DEA agents. Mr.

Han—who had no contraband or prohibited items—did not feel free to walk away or to decline to

answer their questions at any time, including when the DEA agents immediately asked Mr. Han if

he had a “large” amount of cash with him. When he said yes, they searched him and seized over

$18,000, most of which was the proceeds from the sale of his car. Mr. Han was not arrested or

charged with any crime. The money was eventually returned several months later. But as a result of

this encounter and his knowledge of DEA’s airport personal seizure and cash seizure policies or

practices, Mr. Han will not consider flying with a large amount of cash again—even though it is

entirely lawful to do so.

    242. On March 26, 2018, DEA agents approached domestic air traveler Tom Hill near his

boarding gate at the JFK Airport in New York City, showed their badges, and questioned him about


                                                 45
his backpack. He did not feel free to walk away or to decline to answer their targeted questions. The

DEA agents interrogated Mr. Hill because they knew he had $62,000 in cash in his backpack—a

fact he voluntarily disclosed to TSA when going through the transportation security screening. He

had no contraband or prohibited items, and the DEA agents had no reason to think that he did. The

DEA agents seized the money for civil forfeiture despite Mr. Hill’s detailed explanation of the

source and purpose of the cash, which was part of an ongoing business deal.

    243. Mr. Hill was not arrested or charged with any crime. A year later, after Mr. Hill retained

counsel, the $61,000 was finally returned to Mr. Hill ($1,000 went unaccounted for by DEA).

    244. On March 12, 2018, four plainclothes DEA agents at the Detroit Metropolitan Wayne

County Airport (DTW) positioned themselves directly between domestic air traveler Qui Ta and

his boarding gate in order to ask him questions about the cash they knew he was traveling with,

presumably because they were alerted by TSA Screeners as a result of his transportation security

screening. Even though he had no contraband or prohibited items, and the DEA agents had no

reason to think he did, the DEA agents blocked his path and interrogated him based solely on their

knowledge of the presence and amount of cash in his carry-on luggage. He did not feel free at any

point to walk away or to decline to answer their questions, including when—almost immediately

upon conducting this non-consensual seizure—the agents asked, “Do you have money with you?”

and “How much?” Qui Ta answered truthfully that he was traveling with approximately $34,000

from the sale of his house. Upon seeing the cash, the DEA agents grabbed Qui Ta’s backpack and

said, “Come with us.” They took Qui Ta and his wife to an interrogation room with four or five

law enforcement officers present. They searched through all of the couple’s luggage and

possessions, humiliating them, and seized all of their money. Qui Ta and his wife missed their

flight and their vacation was ruined. Neither Qui Ta nor his wife were arrested or charged with any

crime. Eventually, Qui Ta accepted a settlement for the return of $29,000 of his unconstitutionally


                                                 46
seized $34,000.

         245.   In February 2018, domestic air traveler Josh Gingerich was seized by DEA

interdiction agents at Chicago’s O’Hare International Airport (ORD) and taken “down to a dingy

basement room” with “no cameras… no nothing” for interrogation about why he was traveling

with $29,000 in cash after a TSA agent saw cash in his backpack and tipped off the DEA agents.

Mr. Gingerich had no illegal drugs or contraband and the DEA agents had no reason to think he

did. The DEA agents seized the $29,000 from Mr. Gingerich despite his plausible explanation that

he had the money to purchase used vehicles on a buying trip for his truck-flipping business in

California. Mr. Gingerich was not arrested or charged with any crime.

         246.   On or about September 27, 2017, at the San Francisco International Airport (SFO),

DEA interdiction agents tapped a male domestic air traveler on the shoulder at baggage claim,

asked his name, and identified themselves as DEA agents. He did not feel free to walk away or to

decline to answer the DEA agents’ questions. The DEA agents immediately forced him to open his

checked bag, which contained $87,000 in cash. He had no illegal drugs or contraband and the DEA

agents had no reason to think he did. He explained that he worked in event planning and marketing

and that the cash was to book a high-profile rap artist. The DEA agents immediately seized the

cash for civil forfeiture. When the traveler asked what he did wrong, a DEA officer responded,

“Nothing.” This air traveler’s event-planning business was irreparably damaged by the seizure of

all or nearly all of its operating revenue. The air traveler was not arrested or charged with any

crime.

         247.   On August 29, 2016, Harlan Hunter III and his mother were flying domestically from

thePhiladelphia International Airport (PHL) to San Francisco. DEA agents seized Mr. Hunter and

hismother at their boarding gate and told them that their carry-on luggage must be searched. There

was no consent sought or given. The DEA agents told Mr. Hunter to follow them to an


                                                47
interrogation room, where he told them that the approximately $45,000 he and his mother were

traveling with was for a semi-trailer truck that his step-father needed for his work. Mr. Hunter and

his mother had no illegal drugs or contraband, and the DEA agents had no reason to think they did.

Instead, the sole basis for their seizure was the DEA agents’ knowledge or belief that they were

traveling with a large amount of cash. Mr. Hunter and his mother did not feel free to walk away

when approached by the DEA agents at the boarding gate, to decline the DEA agents’ search of

their luggage, or to decline to answer the DEA agents’ questions about their cash. The only

explanation the DEA agents gave when they ultimately seized Mr. Hunter’s and his mother’s cash

for civil forfeiture was that it was suspicious for the cash not to be packed in an envelope. No other

reasonable suspicion or probable cause was proffered, and neither Hunter nor his mother were

arrested or charged with any crime.

      248.    On February 19, 2015, despite finding no illegal drugs, contraband, or prohibited

items,DEA agents seized $43,923 from domestic air traveler Vu Do at the JFK Airport in New

York. He had had no contraband or prohibited items and the DEA agents had no reason to think he

did. Themoney was lawfully earned from his two nail salon businesses and was intended to assist

his brothers in California, who had recently suffered financial losses. Vu Do was not arrested or

charged with any crime. In June 2015, Vu Do sued DEA over the unlawful seizure. The complaint

states that Vu Do has never been charged, arrested, or convicted for any crime under the Controlled

Substances Act. The complaint explains that Vu Do (who was traveling domestically) “did not

know that it was a violation of Federal regulations to carry cash in excess of $5,000 at the time of

the seizure.” See Complaint, Vu Do v. DOJ & DEA, No. 1:15-cv-3553, Dkt. 1 (June 17, 2015).

Because no such violation exists, upon information and belief, when DEA agents seized Vu Do

and his cash, they (wrongly) informed him that traveling with $5,000 is unlawful—in accordance

with DEA interdiction agents’ policy or practice of treating $5,000 or more as presumptively


                                                 48
subject to seizure for civil forfeiture.

      249.     Many of DHS and DEA’s suspicionless non-consensual airport interrogations,

seizures, and searches are the result of TSA “flagging” travelers who are traveling with “large”

amounts of cash and then notifying DHS and DEA about the traveler and the cash. Despite DHS and

DEA’s characterization of the ensuing stops—which are based solely on TSA-provided information that a

particular traveler is traveling with a large amount of cash—as consensual in its forfeiture complaint

allegations, the circumstances and the agency’s treatment of “large” amounts of cash as presumptively

subject to seizure indicate that these airport encounters are, as a matter of practice, unlawful seizures of

airport travelers who cannot walk away or decline to answer questions when federal law enforcement

officers ask them targeted and personal questions about their luggage in the high security context of an

airport. For example:

              l. A lawsuit filed in 2008 alleges that TSA Screeners detained two individuals

                  “upon spotting cash” and told them to “wait while TSA contacted someone else.”

                  This resulted in a DEA agent arriving to continue the non-consensual seizure and

                  questioning, which were based on the presence of cash. They evidently had no

                  contraband or prohibited items, and the DEA agents had no reason to think they

                  did. After the travelers were allowed to leave with their cash, another DEA agent

                  approached them during their layover for the sole purpose of seizing their cash.

                  See First Am. Compl., Fiore v. Walden, No. 2:07-cv-1674, Dkt. 11 (July 18,

                  2008).

              m. In April 2011, DEA agents at Boston Logan International Airport (BOS) “met [a

                  man] at an airport security checkpoint” and interrogated him based solely on the

                  fact that TSA officials “discovered $29,540” in his possession. See U.S. v.

                  $29,540 in U.S. Currency, 2013 WL 783052, at *1 (D. Mass. Feb. 28, 2013). He

                  evidently had no contraband or prohibited items, and the DEA agents had no

                                                   49
                reason to think he did. He would not have felt free to walk away from these federal

                law enforcement officers at an airport security checkpoint, who evidently seized

                him there based solely on his traveling with cash, which does not provide

                reasonable suspicion.

             n. In June 2017, “TSA officers alerted the DEA that [a man] was traveling to

                Phoenix, Arizona with a large sum of currency.” Based solely on that information,

                DEA “approached” the man “in the airside terminal and interviewed” him. See

                Complaint for Forfeiture, No. 2:17-cv-1439, Dkt. 1 (Nov. 3, 2017). He would not

                have felt free to walk away from these federal law enforcement officers in the

                high security context of an airport, and they evidently seized him based solely on

                his traveling with cash, which does not provide reasonable suspicion. He

                evidently had no contraband or prohibited items, and the DEA agents had no

                reason to think he did.

      250.   The 2017 OIG Report corroborates and raises concerns about these coordination

practices between DHS, DEA, and TSA. The Report found: “DEA agents and task force officers

may also initiate contacts that lead to seizures after receiving information from airport security

screeners that a large volume of currency was packaged within an individual’s carry-on or checked

luggage.” The OIG Report noted that when DEA is initiating such cash- or currency-based contacts

based on “lucrative relationships” with TSA Screeners and other sources, it raises obvious

“implications relating to compliance with the Fourth Amendment’s protections against

unreasonable searches and seizures.” 2017 OIG Report at 23; see also DOJ Office of Inspector

General, Investigative Summary of Findings Concerning the DEA’s Use of a TSA Airport Security

Screener      as       a      Paid        Confidential      Source       (Jan.      7,      2016),

https://www.oversight.gov/sites/default/files/oig-reports/f160107b.pdf (noting Fourth Amendment


                                               50
     implications of “asking the TSA Security Screener to notify the DEA of passengers carrying large sums of

     money in exchange for a reward based on money seized by the DEA”).

           251.    Further demonstrating DEA’s practice of conducting suspicionless non-consensual

     seizures at airports, the DOJ Office of Inspector General “identified practices in which [DEA task

     force group] members conducting [so-called] cold consent encounters may misrepresent either

     themselves or the ability of the traveler from whom they seize cash to contest the seizure.” The

     OIG explained: “One such practice that we were told about in one TFG involved approaching a

     passenger at the gate area (after they passed through [TSA] security) and informing them that the

     TFG was conducting a ‘secondary inspection.’ We believe that using such terminology creates a

     risk that travelers will interpret the statement to mean they are required to consent to the encounter,

     similar to their obligations at a TSA checkpoint.” DOJ Office of Inspector General, Review of the

     Drug Enforcement Administration’s Use of Cold Consent Encounters at Mass Transportation

     Facilities at iv (Jan. 2015), https://www.oversight.gov/sites/default/files/oig-reports/e153.pdf; Id.

     at 32 (“Some TFG members conduct cold consent encounters and searches in a manner that may be

     misleading”). Such practices are common, and it is common for air travelers to be confused about their

     obligations—and their rights to not consent to be interviewed or searched—when approached in a similar

     manner by DHS and DEA interdiction officers.

252. In short, the practices described above and the experiences of the Plaintiff demonstrate that

     DHS/DEA employs policies or practices at airports nationwide that consistently violate the Fourth

     Amendment rights of air travelers. As a result, the agency has “creat[ed] the appearance that they

     are more interested in seizing and forfeiting cash than advancing potential criminal

     investigation[s].” 2017 OIG Report at 28.

                                            Claims
        1. Claim for Ultra Vires Agency Action Under 5 U.S.C. §§ 701-706 (Against TSA, TSA
           Administrator Pekoske in his official capacity, and the United States of America)

253. Plaintiff re-alleges and incorporates by reference each and every allegation set forth in preceding

                                                      51
     paragraphs 1-252.

254. Plaintiff brings this claim against TSA, TSA Administrator Pekoske in his official capacity, and

     the United States of America under the Administrative ProcedureAct, 5 U.S.C. §§ 701-

     706.

255. TSA’s statutory authority to conduct screenings of air travelers is limited to conducting

     administrative searches to ensure transportation security; by law, these transportation security

     screenings are not for general law enforcement purposes.

256. TSA’s transportation security screenings may not go beyond their limited purpose of searching for

     threats to transportation security.

257. No statute or regulation authorizes TSA Screeners to engage in searches, seizures, or investigations

     for general law enforcement purposes.

258. No statute or regulation authorizes TSA Screeners to seize property that does not threaten

     transportation security.

259. No statute or regulation authorizes TSA Screeners to seize potential contraband or potential

     evidence of a crime unrelated to transportation security.

260. No statute or regulation authorizes TSA Screeners to seize or question travelers after the

     transportation security screening has concluded.

261. No statute or regulation authorizes TSA Screeners to seize or question travelers to investigate

     potential crimes that do not threaten transportation security.

262. TSA’s challenged policy or practice—having TSA Screeners seize, or arrange for the seizure of,

     travelers’ cash, carry-on luggage, personal effects, and/or their person, based on the presence of

     cash on their person or in their carry-on luggage, after the transportation security screening has

     concluded—exceeds TSA’s statutory authority to conduct administrative searches for threats to

     transportation security.


                                                     52
263. Neither TSA Management Directive No. 100.4 (Sept. 1, 2009) nor TSA Operations Directive 400-

     54-6 (Oct. 29, 2009) purports to give TSA Screeners the authority to conduct these ultra vires and

     unconstitutional seizures. TSA Screeners conduct these ultra vires and unconstitutional seizures

     pursuant to an unwritten policy or practice, or pursuant to some other non-public written policy.

264. TSA’s challenged policy or practice is ultra vires because it is “in excess of statutory jurisdiction,

     authority, or limitations.” 5 U.S.C. § 706(2)(C).

265. TSA’s ultra vires policy or practice affected the Plaintiff in this case for which he seeks

     compensatory damages and attorney fees.

266. As a direct and proximate result of TSA’s ultra vires policy or practice, Plaintiff suffered and could

     suffer the same injury again.

267. Therefore, declaratory and injunctive relief is necessary to remedy TSA’s unlawful policy or

     practice, which will otherwise continue.

    2. Claim for Unconstitutional Action Under 5 U.S.C. §§ 701-706 and the Fourth Amendment
       (Against TSA, TSA Administrator Pekoske in his official capacity, and the United States of
                                             America)

268. Plaintiff re-alleges and incorporates by reference each and every allegation set forth in preceding

     paragraphs 1-252.

269. Plaintiff brings this claim against TSA, TSA Administrator Pekoske in his official capacity, and

     the United States of America under the Administrative ProcedureAct, 5 U.S.C. §§ 701-

     706 and the Fourth Amendment to the United States Constitution.

270. Plaintiff brings this claim under Federal Rule of Civil Procedure 23(b)(2) for declaratory and

     injunctive relief against TSA, TSA Administrator Pekoske in his official capacity, and the United

     States of America for violation of their Fourth Amendment right to be free from unreasonable

     searches and seizures.

271. Even when the government has lawfully initiated a search or seizure, it may not extend or prolong

                                                      53
     that search or seizure to pursue broader or different investigatory purposes absent reasonable

     suspicion or probable cause.

272. TSA airport transportation security screenings are administrative searches that may not be

     conducted for general law enforcement purposes; they may not go beyond their limited purpose of

     searching for threats to transportation security.

273. Once TSA completes the administrative search of an air traveler and their carry-on luggage and

     does not detect any threats to transportation security, TSA may not continue to search or seize the

     air traveler, their carry-on luggage, or their cash without reasonable suspicion or probable cause.

274. It is legal to travel with any amount of cash, and there are no legal requirements to report to the

     government that one is traveling domestically with any amount of cash.

275. An air traveler’s possession of any amount of cash, by itself, is not suspicious or indicative of

     criminal activity; it does not give rise to reasonable suspicion or probable cause.

276. After TSA determines, in the scope of a lawful administrative search at a transportation security

     screening checkpoint, that nothing on a traveler’s person or in a traveler’s carry-on luggage

     presents a threat to transportation security, the Fourth Amendment prohibits TSA from

     (1) extending or prolonging that administrative search for other purposes or (2) seizing, or

     arranging the seizure of, the traveler’s cash, carry-on luggage, personal effects, and/or person

     without reasonable suspicion or probable cause.

277. Seizing a traveler’s cash, carry-on luggage, personal effects, and/or person, even briefly or

     temporarily, is a meaningful interference with that traveler’s possessory interest in their property and

     freedom of movement.

278. Even if travelers are told they are free to leave the transportation security screening checkpoint or

     boarding gate without their carry-on luggage or their cash, they are effectively seized by the

     interference with their property, particularly if it includes valuable or important property such as


                                                         54
     cash or other personal effects typically packed in carry-on luggage.

279. Plaintiff challenges TSA’s policy or practice of seizing, or arranging the seizure of, travelers’ cash,

     carry-on luggage,personal effects, and/or persons—based on the presence of cash on their person

     or in their carry-on luggage—after the transportation security screening has concluded, and

     without reasonable suspicion or probable cause.

280. TSA’s seizure of cash, carry-on luggage, personal effects, and/or persons pursuant to this policy or

     practice violates the Fourth Amendment, even if the seizure is only temporary.

281. For example, TSA’s temporary seizure of Franklin’s carry-on luggage and personal effects after

     their transportation security screening concluded violated the Fourth Amendment because the

     seizures were beyond the scope of TSA’s administrative search for threats to transportation security

     and were not based on reasonable suspicion or probable cause. These seizures were conducted

     pursuant to TSA’s challenged policy or practice. The arrangement to have DHS and HPD intercept

     and seize Franklin and his property at the gate is equally violative.

282. TSA’s unconstitutional policy or practice affected Plaintiff in this case.

283. As a direct and proximate result of TSA’s unconstitutional policy or practice, Plaintiff suffered

     injuries and could suffer the same injury, including the deprivation of his constitutional rights and

     the interference with his property rights and freedom of movement.

284. Therefore, declaratory and injunctive relief is necessary to remedy TSA’s unconstitutional policy

     or practice, which will otherwise continue.

     3. Claim for Unconstitutional Action Under 5 U.S.C. §§ 701-706 and the Fourth Amendment
         (Against DHS, DHS Secretary Mayorkas in his official capacity,and the United States of
                                              America)

285. Plaintiff re-alleges and incorporates by reference each and every allegation set forth in preceding

     paragraphs 1-252.

286. Plaintiff brings this claim against DHS, DHS Secretary Mayorkas in his official capacity, and

                                                      55
     the United States of America           under    the   Administrative    Procedure Act, 5 U.S.C. §§

     701-706 and the Fourth Amendment to the United States Constitution.

287. Plaintiffs bring this claim for declaratory and injunctive relief against DHS, DHS Secretary

     Mayorkas in his official capacity, and the United States of America for violation of his Fourth

     Amendment right to be free from unreasonable searches and seizures.

288. It is legal to travel with any amount of cash, and there are no legal requirements to report to the

     government that one is traveling domestically with any amount of cash.

289. An air traveler’s possession of any amount of cash, by itself, is not suspicious or indicative of

     criminal activity; it does not give rise to reasonable suspicion or probable cause.

290. DHS follows a policy or practice of conducting suspicionless non-consensual seizures of travelers

     at U.S. airports based solely on the knowledge or belief that those specific travelers are traveling

     with a “large” amount of cash.

291. Pursuant to this unconstitutional policy or practice, DHS seized Plaintiff and his property without

     reasonable suspicion.

292. DHS follows a policy or practice of seizing cash without probable cause from travelers at U.S.

     airports for civil forfeiture based solely on the presence of a large amount of cash, which DHS

     deems presumptively subject to seizure.

293. DHS follows a policy or practice of seizing cash from travelers at U.S. airports for civil forfeiture

     based on the presence of a threshold amount of cash that DHS considers “suspicious” and therefore

     presumptively subject to seizure regardless of whether there is probable cause for the seizure.

294. DHS interdiction agents follow a policy or practice of seizing cash from travelers at U.S.airports

     based on whether they have at least $5,000 in cash, regardless of whether there is probable cause

     for the seizure.

295. Pursuant to this unconstitutional policy or practice, DHS seized Franklin’s cash for civil forfeiture


                                                     56
     without probable cause.

296. The above DHS policies or practices violate the Fourth Amendment right to be free from

     unreasonable searches and seizures.

297. As a direct and proximate result of these policies or practices, the Plaintiff suffered injuries and

     damages and will suffer the same injury, including the deprivation of his constitutional rights and

     the deprivation and/or loss of his cash in the future.

298. Therefore declaratory and injunctive relief is necessary to remedy DHS’s unlawful policy or

     practice, which will otherwise continue.

     4. Claim Under Federal Rule of Criminal Procedure 41(g) and 28 U.S.C. § 1331 for Return
          of Plaintiff’s Cash and Interest on Plaintiff’s Property Seized and Held for Years in
         Violation of the Fourth Amendment (Against DHS, DHS Secretary Mayorkas, in his
                            official capacity,and the United States of America)

299. Plaintiff re-alleges and incorporates by reference each and every allegation set forth in preceding

     paragraphs 1-252.

300. Plaintiff brings this claim for the return of his cash, compensatory damages, and interest on his

     seized cash against DHS, DHS Secretary Mayorkas in his official capacity, and the United States

     of America under Federal Rule of Criminal Procedure 41(g), this Court’s general equity

     jurisdiction under 28 U.S.C. § 1331, and the Fourth Amendment to the United States Constitution.

301. Franklin was aggrieved, injured, and harmed by the unlawful and unconstitutional seizure of their

     property—the seized cash—and continues to be harmed by the continued deprivation of the use of

     and interest on his seized cash. Plaintiff also seeks compensation for the vindication of his civil

     rights that have been violated.

302. DHS’ seizure and continued retention of Franklin’s cash and interest for at least twenty-four

     months (and continuing) violated his Fourth Amendment right because the warrantless seizure and

     retention were and remain without probable cause to believe that Franklin engaged in any criminal

     activity, that the seized cash was connected to any criminal activity, and no exception to the
                                                      57
     warrant requirement applied or applies to the initial seizure or the retention of the seized cash.

303. For the same reasons, DHS’ continued retention of Franklin’s seized cash and interest on the cash

     violates his Fourth Amendment right and deprives him of the use and interest he would have been

     entitled to enjoy on his $98,020.00, had the cash never been unlawfully and unconstitutionally

     seized by DHS and wrongfully withheld from them for at least twenty-four months.

304. Franklin is entitled to the immediate return of the cash and interest that accrued on their $98,020

     for the at least twenty-four months he has been deprived of his seized cash.

      5. Bivens Claim for Compensatory DamagesUnder the Fourth Amendment (Against DHS
           Agent Terry Muise, DHS/HPD Officer Shoffner, and Houston Police Department)

305. Plaintiff re-alleges and incorporates by reference each and every allegation set forth in preceding

     paragraphs 1-252.

306. Plaintiff brings this claim for compensatory damages against Defendants Muise and Shoffner, in

     their individual capacity, under Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971) and the

     Fourth Amendment to the United States Constitution.

307. Defendants Muise and Shoffner violated Plaintiff’s clearly established Fourth Amendment right to

     be free from unreasonable searches and seizures by seizing his property without reasonable

     suspicion or probable cause.

308. Defendant Muise violated Plaintiff’s clearly established Fourth Amendment right to be free from

     unreasonable searches and seizures by seizing his cash for civil forfeiture without a warrant or

     probable cause.

309. As a direct and proximate result of Defendants Muise and Shoffner’s unconstitutional actions,

     Plaintiff suffered injuries, as set forth in the preceding paragraphs—particularly the section entitled

     “Injuries to Franklin”—and as may further be developed in discovery or at trial.

310. An award of compensatory damages plus interest—in amounts to be determined in discovery or at

     trial—is necessary to remedy the injuries caused by Defendant Muise’s violations of Plaintiff’s
                                                      58
 Fourth Amendment right. Reasonable and necessary attorney fees are sought.

                                        Request for Relief

     WHEREFORE, Plaintiff respectfully request that this Court:

       1. Issue declaratory relief against Defendants TSA, TSA Administrator Pekoske in his

official capacity, and the United States of America declaring ultra vires and unlawful TSA’s policy

or practice of having TSA Screeners seize (even temporarily) air travelers’ cash, carry-on luggage,

personal effects, and/or persons—based on the presence of cash on their person or in their carry-on

luggage—after the transportation security screening has concluded.

       2. Issue injunctive relief against Defendants TSA, TSA Administrator Pekoske in his

official capacity, and the United States of America enjoining TSA Screeners from seizing (even

temporarily) air travelers’ cash, carry-on luggage, personal effects, and/or persons—based on the

presence of cash on their person or in their carry-on luggage—after the transportation security

screening has concluded.

       3. Issue declaratory relief against Defendants TSA, TSA Administrator Pekoske in his

official capacity, and the United States of America declaring unconstitutional under the Fourth

Amendment TSA’s policy or practice of seizing (even temporarily) air travelers’ cash, carry-on

luggage, personal effects, and/or persons—based on the presence of cash on their person or in their

carry-on luggage—after the transportation security screening has concluded and without reasonable

suspicion or probable cause.

       4. Issue injunctive relief against Defendants TSA, TSA Administrator Pekoske in his

official capacity, and the United States of America enjoining TSA from seizing (even temporarily)

air travelers’ cash, carry-on luggage, personal effects, and/or persons—based on the presence of

cash on their person or in their carry-on luggage—after the transportation security screening has

concluded and without reasonable suspicion or probable cause.


                                                59
          5. Issue declaratory relief against Defendants DHS, DHS Special Agent Muise in his

individual capacity, DHS Task Force Officer Mark Shoffner in his individual capacity, and the

United States of America declaring unconstitutional under the Fourth Amendment DHS’ policy or

practice of seizing air travelers at U.S. airports because of DHS agents’ knowledge or belief that

they are traveling with a large amount of cash.

     6.     Issue injunctive relief against Defendants DHS, DHS Special Agent Muise in his

 individual capacity, DHS Task Force Officer Mark Shoffner in his individual capacity, and the

 United States of America enjoining DHS’ policy or practice of seizing air travelers at U.S. airports

 because of DHS agents’ knowledge or belief that they are traveling with a large amount of cash.

     7.     Issue declaratory relief against Defendants DHS, DHS Special Agent Muise in his

 individual capacity, DHS Task Force Officer Mark Shoffner in his individual capacity,, and the

 United States of America declaring unconstitutional under the Fourth Amendment DHS’ policy or

 practice of seizing cash from air travelers at U.S. airports for civil forfeiture because they are

 traveling with at least $5,000 or any other threshold amount ofcash deemed presumptively subject

 to seizure regardless of whether there is probable cause for the seizure.

     8.     Issue injunctive relief against Defendants DHS, DHS Special Agent Terry Muise in his

 individual capacity, DHS Task Force Officer Mark Shoffner in his individual capacity, and the

 United States of America enjoining DHS policy or practice of seizing cash from air travelers at U.S.

 airports for civil forfeiture because they are traveling withat least $5,000 or any other threshold

 amount of cash deemed presumptively subject to seizure regardless of whether there is probable

 cause for the seizure.

     9.     Order Defendants DHS, DHS Special Agent Terry Muise in his individual capacity, DHS

 Task Force Officer Mark Shoffner in his individual capacity, and the United States of America to

 immediately return the cash and interest that accrued on Franklin’s $98,020. 0 0 in seized cash


                                                  60
for at least twenty-four months that DEA unlawfully and unconstitutionally retained his seized cash

and wrongfully withheld it from him.

   10.   Award Franklin compensatory damages plus interest—in an amount to be proven in

discovery or at trial—against Bivens Defendant DHS Agent Terry Muise and TFO Mark Shoffner

for their violations of Franklin’s Fourth Amendment right along with all other defendants jointly

and severally.

   11.   Enter an award against all Defendants allowing Plaintiffs to recover his compensatory

damages, attorney fees, costs, and expenses in this action under 28 U.S.C. § 2412 and any other

applicable provisions of law or equity.

   12.   Award any further equitable or legal relief the Court may deem just and proper.




                                               61
                                          Jury Demand

    Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury of all issues

so triable.

                                                    Respectfully submitted,

                                                    LAW OFFICE OF GREG GLADDEN

                                                    /s/ Greg Gladden
                                                    Greg Gladden
                                                    3017 Houston Avenue
                                                    Houston, Texas 77009
                                                    Phone: 713-880-0333
                                                    Fax: 713-880-4018
                                                    State Bar No. 07991300
                                                    Fed ID No. 7236
                                                    Attorney for Plaintiff Robert Franklin




                                               62
